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 7                      SUPERIOR COURT OF THE STATE OF WASHINGTON
                                  IN AND FOR KING COUNTY
 8
 9   ANGELA B. HEIT; NICOLAS L. HEIT; SANDRA K.                       No.
10   JOHNSON; CATHERINE A. KARLSEN; POLLY A.
     MULLER; LAURA F. NAVONE; ROBIN C.
11   OESTREICH; DANIEL S. PIERCE; JENNIFER M.                         COMPLAINT FOR DAMAGES
     TOUTONGHI; and DOES 1-178;
12
13                                  Plaintiffs,
            v.
14
     MONSANTO COMPANY, a Delaware corporation;
15   SOLUTIA, INC., a Delaware corporation; PHARMACIA
16   LLC, a Delaware limited liability corporation, f/k/a
     Pharmacia Corporation; UNION HIGH SCHOOL
17   DISTRICT NO. 402; SNOHOMISH HEALTH
     DISTRICT; and ROES 1-10;
18
19                                  Defendants.

20
21   NB: This is the sixth complaint in the Sky Valley litigation. The first complaint (44 Plaintiffs) is Bard

22   et al. v. Monsanto Co. et al., King Co. Sup. Ct. Case No. 18-2-00001-7 SEA. The second complaint (5

23   Plaintiffs) is Erickson et al. v. Monsanto Co. et al., King Co. Sup. Ct. Case No. 18-2-11915-4. The

24   third complaint (11 Plaintiffs) is Soley et al. v. Monsanto Co. et al., King Co. Sup. Ct. Case No. 18-2-

25   23255-4 SEA. The fourth complaint (13 Plaintiffs) is Allison et al. v. Monsanto Co. et al., King Co.

26   Sup. Ct. Case No. 18-2-26074-4 SEA. The fifth complaint (14 Plaintiffs) is Caldwell-Eleazer et al. v.

27   Monsanto Co. et al., King Co. Sup. Ct. Case No. 18-2-54572-2 SEA. The exhibits referenced in this

28   complaint may be found in the Bard case file and are also available upon request.


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 1   I.     INTRODUCTION TO THE SKY VALLEY EDUCATION CENTER CASE
 2          1.1    Monsanto intentionally produced and promoted in the U.S. more than 1.25
 3   billion pounds of synthetic chemicals called Polychlorinated Biphenyls (PCBs). According
 4   to U.S. government agencies, PCBs are “extremely toxic” and damage essentially every
 5   system of the human body. Since the 1930s, Monsanto has known that PCBs are toxic, yet
 6   promoted them without adequate warnings for electrical, construction, and other
 7   applications—until they were banned. Internal memoranda, however, show that while
 8   Monsanto knew PCBs are toxic, Monsanto made decisions based on PCB profits. As a
 9   consequence, PCBs were produced and incorporated into public buildings, including
10   school buildings. Today up to 14 million school children—and their teachers—in U.S.
11   schools may be exposed to PCBs, as estimated by a Harvard School of Public Health study.
12   Monsanto still fails to adequately warn about the extreme toxicity of PCBs.
13          1.2    In this case, the contaminated school is called old Monroe Middle School /
14   Sky Valley Education Center. The school contained PCBs and other toxic chemicals,
15   exposing the children and adults who used the buildings. As a result, these individuals
16   have been coping with adverse medical effects, including neurological damage,
17   autoimmune and endocrine diseases, and cancers. The School District building owner and
18   the Health District negligently allowed the toxic chemicals to exist in the school, due in
19   part to Monsanto’s ongoing failure to warn about PCBs’ extreme toxicity. Regardless, the
20   public entities had duties of reasonable care to provide, maintain, inspect, and enforce
21   environmental safety at the school for the children and adults at Sky Valley. The public
22   entities violated their duties by allowing the toxic chemicals to remain in the school and
23   poison children and adults, including the teachers.
24          1.3    This case is about school safety and the toxic chemicals in schools that
25   poisoned children and adults, and whether under state law the manufacturer will be held
26   accountable for its toxic products, and whether the public entities that are obligated to
27   provide safe schools will be held accountable for the toxic school.
28          1.4   The following EPA slide demonstrates the mechanism of the toxic poisoning:


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                            PCBs - A Complex Problem in Buildings
          Example Scenario                             Over 100 PCB chemicals
                                                             p p
                                                       Multiple primary
                                                                       y sources p
                                                                                 possible
                                                       Transport from sources to air, surfaces,
                                                            dust, soil
                                                       Secondary sources created
                        Primary Sources
                             Caulk                     Exposures through multiple pathways
                             Light Ballast
                                                       Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit
                                                                                                                Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 5 of 107




 Office of Research and Development
 National Exposure Research Laboratory
                                                                  Primary PCB   Secondary PCB
                                                    Ventilation                                     Dust/Soil
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 1   II.        IDENTITY OF THE PARTIES
 2         A.         Identities of the Defendants.
 3              2.1   In 2015 and 2016, the Cities of Spokane and Seattle and the State of
 4   Washington each separately sued the Monsanto Defendants for their role in
 5   contaminating Washington public resources with Monsanto’s PCBs. Many of the
 6   following allegations have been made or admitted to by the State and Monsanto
 7   Company, Solutia, Inc., and Pharmacia LCC, through the State’s Complaint for
 8   Damages, and Monsanto, et al.’s Answer to the Complaint, or are sourced from other
 9   public documents. See State’s Complaint for Damages, State v. Monsanto, et al., King
10   County Case No. 16-2-29591-6-SEA (December 16, 2016), and Defendant Monsanto
11   Company et al.’s Answer to Complaint, State v. Monsanto Company, et al., No. 2:17-cv-
12   00053 (W.D. Wash. Jan. 12, 2017); see also City of Seattle v. Monsanto Co., 237 F.
13   Supp. 3d 1096, 1100, fn 2 (W.D. Wash. 2017) (“The original Monsanto Company
14   operated within three main industries: agricultural products, chemical products, and
15   pharmaceuticals. In the late 1990s, Monsanto Company spun off into three separate
16   corporations, each responsible for a different industry: Monsanto Company retained the
17   agricultural products business; Solutia, Inc. assumed the chemical products business; and
18   Pharmacia Corporation assumed the pharmaceutical business. Each assumed certain
19   assets and liabilities from the original Monsanto Company, and all are defendants in this
20   case”); City of Spokane v. Monsanto Co., Case No. 2:15-cv-00201-SMJ (E.D. Wash. July
21   31, 2015); see also Solutia, Inc. v. McWane, Inc., 726 F.Supp.2d 1316, 1318-19 (N.D.
22   Ala. 2010) (“Monsanto Company and its predecessors produced polychlorinated
23   biphenyls (‘PCBs’)… In 1997, Monsanto created Solutia in a spin-off transaction… In
24   2000, Pharmacia was formed by the merger of Monsanto and Pharmacia & Upjohn”).
25              2.2   Defendant Monsanto Company is a Delaware corporation with its principal
26   place of business in St. Louis County, Missouri.
27              2.3   Defendant Solutia, Inc. is a Delaware corporation with its principal place of
28   business in St. Louis County, Missouri.


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 1         2.4    Defendant Pharmacia LLC is formerly known as Pharmacia Corporation
 2   and is successor to the original Monsanto Company. Pharmacia is a Delaware limited
 3   liability corporation and is a citizen of the states of New York and Delaware. Pharmacia
 4   is now a wholly-owned subsidiary of Pfizer, Inc.
 5         2.5    The original Monsanto Company (“Old Monsanto”) operated agricultural,
 6   chemical, and pharmaceutical businesses.
 7         2.6    Old Monsanto began manufacturing PCBs around the 1930s and continued
 8   to manufacture commercial PCBs, including PCBs used in electrical equipment
 9   applications such as light ballasts, through the 1940s, 1950s, 1960s, and 1970s, until
10   approximately 1977.
11         2.7    Around 1997, Old Monsanto spun-off its chemical business to Solutia.
12   Since 2000, the present or current Monsanto Company has operated the agricultural
13   business, while Pharmacia retained the pharmaceutical business.
14         2.8    Old Monsanto is now known as Pharmacia LLC.
15         2.9    Old Monsanto organized Solutia to own and operate its chemical
16   manufacturing business. Solutia assumed the operations, assets, and liabilities of Old
17   Monsanto’s chemical business.
18         2.10   Although Solutia assumed and agreed to indemnify Pharmacia (then known
19   as Monsanto Company) for certain liabilities related to the chemicals business,
20   Monsanto, Solutia, and Pharmacia have also entered into agreements to share or
21   apportion liabilities, and/or to indemnify one or more entities, for claims arising from
22   Old Monsanto's chemical business, including the manufacture and sale of PCBs.
23         2.11   According to Monsanto, Solutia, and Pharmacia, the three entities have
24   entered into complex corporate transactions and agreements that determine their
25   respective legal or financial obligations for claims arising from Old Monsanto’s
26   manufacture and sale of PCBs.
27         2.12   In 2003, Solutia filed a voluntary petition for reorganization under Chapter
28   11 of the U.S. Bankruptcy Code. Solutia's reorganization was completed in 2008. In


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 1   connection with Solutia's Plan of Reorganization, Solutia, Pharmacia, and new
 2   Monsanto entered into several agreements under which Monsanto continues to manage
 3   and assume financial responsibility for certain tort litigation and environmental
 4   remediation related to the chemicals business.
 5          2.13   Monsanto represented in a recent Form 10-K (for the fiscal year ending
 6   August 31, 2016): “Monsanto is involved in environmental remediation and legal
 7   proceedings to which Monsanto is party in its own name and proceedings to which its
 8   former parent, Pharmacia LLC (‘Pharmacia’) or its former subsidiary, Solutia, Inc.
 9   (‘Solutia’) is a party but that Monsanto manages and for which Monsanto is responsible
10   pursuant to certain indemnification agreements. In addition, Monsanto has liabilities
11   established for various product claims. With respect to certain of these proceedings,
12   Monsanto has established a reserve for the estimated liabilities.” The document specifies
13   that the company holds $545,000,000.00 in that reserve.
14          2.14   For the Monsanto Defendants’ wrongdoing that lead to PCB contamination
15   and toxic poisonings at the school buildings in this case, Monsanto, Solutia, and
16   Pharmacia are liable to the Plaintiffs under state tort law. These Defendants may be
17   obligated to one another in contract for PCB tort liabilities as set out in their complex
18   corporate agreements, but that is not the subject of this lawsuit. For purposes of this
19   Complaint, these Defendants are referred to as “Monsanto.”
20          2.15   Monsanto’s conduct is a legal cause of damages to the Plaintiffs because
21   the old Monroe Middle School / Sky Valley Education Center school never would have
22   become contaminated with “extremely toxic” PCBs if Monsanto had not intentionally
23   produced and promoted PCBs in building construction applications.
24          2.16   Union High School District No. 402 is a Washington school district
25   (“School District”).
26          2.17   According to tax accessor records, Union High is the owner of the land and
27   school buildings formerly known as Monroe High School (1950-1977), Monroe Junior
28   High (1977-1987), Monroe Middle School (1987-2011), and now known as the Sky


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 1   Valley Education Center (2011-present), located at 351 Short Columbia Street at Hill and
 2   Kelsey Streets, in Monroe. In this Complaint, this location may be referred to as Sky
 3   Valley Education Center, Sky Valley, or the school buildings.
 4               2.18   The Snohomish Health District (“Health District”) is a Washington
 5   independent special purpose district. It is the municipal corporation responsible for public
 6   health in Snohomish County, in part by inspecting and enforcing minimal environmental
 7   safety requirements in educational facilities, including the school buildings in this case.
 8          B. Identities of the Plaintiffs.
 9               2.19   The Plaintiffs are residents of the State of Washington.
10               2.20   Plaintiffs Angela B. Heit, Sandra K. Johnson, Catherine A. Karlsen, Polly
11   A. Muller, Laura A. Navone, Robin C. Oestreich, Daniel S. Pierce, and Jennifer M.
12   Toutonghi were teachers and staff members at the old Monroe Middle School / Sky
13   Valley Education Center. They were employed by non-party Monroe School District.
14   Due to the Defendants’ wrongful conduct, the Plaintiffs were exposed to toxic chemicals
15   and have suffered adverse medical consequences.
16               2.21   Plaintiff Nicolas L. Heit is spouse to Angela B. Heit, who was exposed to
17   toxic chemicals at the school.
18               2.22   The Plaintiffs were harmed due to the corporate and governmental
19   wrongdoing of the Defendants. The Plaintiffs bring claims against the Defendants for
20   products liability and negligence. The Plaintiffs bring claims for personal injuries as well
21   as societal and consortium injuries to their spouses.
22   III.        VENUE AND JURISDICTION
23          A.          Venue is proper in King County.
24               3.1    King County venue is proper because one or more of the Monsanto
25   Defendants transacts business in King County, including Monsanto, Solutia, and/or
26   Pharmacia. RCW 4.12.025(1).
27               3.2    King County venue is also proper to the extent any Defendant alleges legal
28   fault to a third-party corporate resident of King County. Such corporation may be cross-


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 1   claimed against or added in an amended complaint by Plaintiffs.
 2              3.3     King County venue is also proper to the extent any Defendant alleges legal
 3   fault to third-party Snohomish County and if the County becomes a party.
 4     B.         King County Superior Court has jurisdiction.
 5              3.4     This Court has jurisdiction over this case. Wash. Const. Art. 4, §6; RCW
 6   2.08.010; RCW 4.12.020(3).
 7   IV.    COMPLIANCE WITH STATUTORY NOTICE REQUIREMENTS
 8    A.        Plaintiffs complied with the statutory claim notice requirements and waiting
 9              periods for the following public entity Defendants:
10              4.1     Union High School No. 402; and
11              4.2     Snohomish Health District.
12     B.       Plaintiffs are not required to give any statutory claim notice to the following
13              non-public entity Defendants:
14              4.3     Monsanto Company;
15              4.4     Solutia, Inc.; or
16              4.5     Pharmacia LLC, f/k/a Pharmacia Corporation.
17   V. FACTS REGARDING CONTAMINATION, EXPOSURE, AND POISONING
18         A.         Monsanto produced and promoted PCBs from the 1930s to the 1970s.
19              5.1     Polychlorinated biphenyls, or “PCBs,” are mixtures of synthetic organic
20   chemicals comprised of chlorine atoms attached to a double carbon-hydrogen ring (a
21   “biphenyl” ring). U.S. EPA. PCBS: CANCER DOSE-RESPONSE ASSESSMENT AND
22   APPLICATION TO ENVIRONMENTAL MIXTURES (1996) at 1. U.S. Environmental
23   Protection Agency, Office of Research and Development, National Center for
24   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
25   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
26   accessed November 6, 2017). “Different mixtures can take on forms ranging from oily
27   liquids to waxy solids.” Id.
28              5.2     PCBs are comprised of many similar semi-volatile chemicals called


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 1   congeners. A “PCB congener” is any single, unique chemical compound in the PCB
 2   category. Two hundred nine congeners have been identified.
 3         5.3    From approximately the 1930s to 1977, Monsanto was the only
 4   manufacturer in the United States that intentionally produced and promoted PCBs for
 5   commercial use. Environmental Defense Fund v. Environmental Protection Agency, 636
 6   F.2d 1267, 1281 fn 37 (1980) (“From the sparse legislative history of § 6(e), it also
 7   appears that Congress focused its attention on the deliberate use, manufacture, and
 8   distribution of PCBs. Throughout the congressional debate, members of Congress
 9   referred to Monsanto Company as the sole producer of PCBs. See 122 Cong.Rec. 8294
10   (1976), reprinted in Legislative History, supra note 7, at 240 (Senator Tunney, speaking
11   in support of the section, referred to Monsanto as the “sole domestic manufacturer of
12   PCB’s”); id. at 27187, reprinted in Legislative History, supra note 7, at 588
13   (Congressman Leggett, speaking in support of the corresponding section in the House
14   bill, referred to Monsanto as “the only American manufacturer of PCB’s”).”). See also
15   116 Cong. Record 11,695, 91st Congress, (April 14, 1970) (“Insofar as the Monsanto
16   Co., the sole manufacturer of PCB's is concerned....”) and 121 Cong. Record 33879, 94th
17   Congress, (October 23, 1975) (“The sole U.S. producer, Monsanto Co.....”); and see Sky
18   Valley Complaint, Exhibit A (from City of Spokane v. Monsanto Co., Case 2:15-cv-
19   00201-SMJ, ECF No. 1-1 (E.D. Wash. July 31, 2015), Bates Nos. MONS 058730-
20   058752, entitled “PCB Presentation to Corporate Development Committee”) at MONS
21   058733 (identifying other producers as “all ex-USA”).
22         5.4    The most common trade name for PCBs in the United States is “Aroclor.”
23   21 CFR § 500.45(a) (“Polychlorinated biphenyls (PCBs) represent a class of toxic
24   industrial chemicals manufactured and sold under a variety of trade names, including
25   Aroclor (United States)”).
26         5.5    Aroclor is a name that was trademarked by Monsanto.
27         5.6    “Between 1929 and 1977, more than 1.25 billion pounds of PCBs were
28   produced in the United States.” Agency for Toxic Substances and Disease Registry


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 1   (ATSDR). 2014. Case Studies in Environmental Medicine: Polychlorinated Biphenyls
 2   (PCBs) Toxicity. Atlanta, GA: U.S. Department of Health and Human Services, at 21,
 3   available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10, last visited on
 4   November 7, 2017.
 5      B. Monsanto’s PCBs are “extremely toxic” synthetic chemicals.
 6            5.7    “PCBs are extremely toxic to humans and wildlife.” Environmental
 7   Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270 (D.C. Cir.
 8   1980).
 9            5.8    PCBs are a “keystone pollutant” and “a prime motivator for the enactment
10   of TSCA,” the Toxic Substances Control Act. “By most accounts, PCBs are the
11   archetypical chemical villains against which the contemporary pollution laws are
12   directed.” William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls
13   (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations omitted).
14            5.9    By the late 1970s, the United States banned the “manufacture, processing,
15   distribution in commerce, and use of polychlorinated biphenyls (PCBs).” 44 Fed. Reg.
16   31514 (May 31, 1979). The ban remains in effect. “The TSCA prohibits the manufacture,
17   processing, distribution, and use (other than in a ‘totally enclosed manner’) of
18   polychlorinated biphenyls (PCBs) unless the EPA determines that the activity will not
19   result in an ‘unreasonable risk of injury to health or the environment.’” General Electric
20   Co. v. EPA, 290 F.3d 377 (D.C. Cir. 2002) (holding that an EPA-issued guidance
21   document was a legislative rule requiring prior notice and opportunity for public
22   comment), citing 15 U.S.C. § 2605(e) (2) & (3).
23            5.10   PCBs are “among the most stable chemicals known and decompose very
24   slowly once they are in the environment... In the environment, PCBs are toxic at low
25   concentrations to a wide variety of species, marine mammals included. Once PCBs
26   reach the environment, they tend to stay there, or move slowly in damaging cycles…”
27   William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls (PCBs), 3
28   Envtl. L. (West) §6:9 (July 2017) (emphasis added), citing in part Response to Exemption


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 1   Petitions, 50 Fed. Reg. 35,184 (August 29, 1985) (“PCBs are also toxic to mammals at
 2   very low exposure levels. The survival rate and reproductive success of fish can be
 3   adversely affected in the presence of PCBs. Various sublethal physiological effects
 4   attributed to PCBs have been recorded in the literature”) (emphasis added); see also 21
 5   CFR § 500.45(a) (“Since PCBs are toxic chemicals, the PCB contamination of food as a
 6   result of these and other incidents represent a hazard to public health.”).
 7          5.10.1 “For humans, exposures cause acute effects such as skin rashes, vomiting,
 8   abdominal pain, and temporary blindness and are suspected of causing birth defects,
 9   miscarriages, and cancer.” William H. Rodgers, Jr. and Elizabeth Burleson,
10   Polychlorinated biphenyls (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations
11   omitted). See also Solutia, Inc. v. McWane, Inc., 726 F. Supp. 2d 1316, 1319 (N.D. Ala.
12   2010) (“PCBs have been found to cause cancer, decreased fertility, still births, and birth
13   defects in test animals.”) (Monsanto cleanup contribution case), citing Dickerson, Inc. v.
14   United States, 875 F.2d 1577, 1579, 1583 (11th Cir.1989) (“PCBs are highly toxic
15   chemicals frequently used in electrical transformers… Scientists have found PCB
16   concentrations far below those involved in this case to cause cancer, decreased fertility,
17   still births, and birth defects in test animals.”) (affirming judgment against the United
18   States for PCB liability). Both Solutia, Inc. and Dickerson cited Environmental Defense
19   Fund v. Environmental Protection Agency, 636 F.2d 1267 (D.C. Cir. 1980), infra.
20          5.11   The Environmental Defense Fund decision summarized research available
21   to the scientific community by the late 1970s:
22          Polychlorinated biphenyls (PCBs) have been manufactured and used
            commercially for fifty years for their chemical stability, fire resistance, and
23
            electrical resistance properties. They are frequently used in electrical
24          transformers and capacitors. However, PCBs are extremely toxic to humans
            and wildlife. The extent of their toxicity is made clear in the EPA Support
25          Document accompanying the final regulations, in which the EPA Office of
26          Toxic Substances identified several adverse effects resulting from human
            and wildlife exposure to PCBs.
27
28          Epidemiological data and experiments on laboratory animals indicate that
            exposure to PCBs pose carcinogenic and other risks to humans.

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 1         Experimental animals developed tumors after eating diets that included
           concentrations of PCBs as low as 100 parts per million (ppm). Experiments
 2
           on monkeys indicate that diets with PCB concentrations of less than ten
 3         ppm reduce fertility and cause still births and birth defects. Other data show
           that PCBs may adversely affect enzyme production, thereby interfering
 4         with the treatment of diseases in humans. Support Document, supra note 4,
 5         at 9-18.
 6         EPA has found that PCBs will adversely affect wildlife as well as humans.
 7         Concentrations below one ppb (part per billion) are believed to impair
           reproductivity of aquatic invertebrates and fish. Some birds suffered
 8         “severe reproductive failure” when fed diets containing concentrations of
 9         only ten ppm of PCBs. Id. at 19. Because PCBs collect in waterways and
           bioaccumulate in fish, fish-eating mammals run a special risk of adverse
10         effects. Such mammals may have “significantly higher concentrations of
11         PCBs in their tissues than the aquatic forms they feed on.” Id. at 36.

12         EPA estimates that by 1975 up to 400 million pounds of PCBs had entered
13         the environment. Approximately twenty-five to thirty percent of this
           amount is considered “free,” meaning that it is a direct source of
14         contamination for wildlife and humans. The rest, “mostly in the form of
15         industrial waste and discarded end use products, is believed to be in landfill
           sites and thus constitutes a potential source of new free PCBs.” Id. at 33-34.
16         Other significant sources of PCBs include atmospheric fallout and spills
17         associated with the use or transportation of PCBs. Id. at 29.

18         EPA concluded in the Support Document that “the additional release of
19         PCBs” into the environment would result in widespread distribution of the
           PCBs and “will eventually expose large populations of wildlife and man to
20         PCBs.” Id. at 36-37. EPA concluded further that:
21                As a practical matter, it is not possible to determine a “safe”
22                level of exposure to these chemicals. Because PCBs are
                  already widely distributed throughout the *1271 biosphere,
23                they currently pose a significant risk to the health of man as
24                well as that of numerous other living things. As a
                  consequence, any further increase in levels of PCBs in the
25                biosphere is deemed undesirable by EPA.
26
           Id. at 38. Because “PCBs released anywhere into the environment will
27         eventually enter the biosphere ... EPA has determined that any such release
28         of PCBs must be considered ‘significant.’” Id.


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 1         In 1972, Monsanto, the major American manufacturer of PCBs, limited its
           sales of PCBs to manufacturers of transformers and capacitors. It ceased all
 2
           manufacture of PCBs in 1977 and shipped the last of its inventory before
 3         the end of that year. Today, PCBs are produced in this country only as
           incidental byproducts of industrial chemical processes. There are no known
 4         natural sources of PCBs. Id. at 2.
 5
 6   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270-
 7   71 (D.C. Cir. 1980) (holding, in part, that there was no substantial evidence to support
 8   EPA’s decision to establish a regulatory cutoff below 50 ppm).
 9         5.12   The decision made other findings: “Most importantly, EPA expressly found
10   that any exposure of PCBs to the environment or humans could cause adverse effects.”
11   Environmental Defense Fund, 636 F.2d at 1283-84.
12         5.13   Closed PCB systems develop leaks. Another issue in the decision related
13   to the regulation of non-enclosed uses of PCBs, such as “carbonless paper, paints,
14   coatings, soaps, and copying ink toners,” versus so-called “totally enclosed uses” of
15   PCBs such as “transformers, capacitors, and electromagnets.” Environmental Defense
16   Fund, 636 F.2d at 1285. The court ruled against the EPA on this artificial distinction
17   because of something that is also true in this case: “put simply, closed systems develop
18   leaks.” Id. at 1285; see also 1286 (witness “recognized that environmental losses can
19   occur through accidental rupture or leakage.”).
20         5.14   In the years following the ban, the EPA confirmed that PCBs are toxic, may
21   cause reproductive and developmental effects, and may cause tumors (“oncogenic
22   potential”) in people exposed:
23         Health effects. EPA has determined that PCBs are toxic and persistent.
           PCBs can enter the body through the lungs, gastrointestinal tract, and skin,
24         circulate throughout the body, and be stored in the fatty tissue.
25
           Available animal studies indicate an oncogenic potential, the degree to
26         which would depend on exposure… Further epidemiological research is
27         needed to correlate human and animal data, but EPA finds no evidence to
           suggest that the animal data would not predict an oncogenic potential in
28         humans.


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 1          In addition, EPA finds that PCBs may cause reproductive effects,
            developmental toxicity, and oncogenicity in humans exposed to PCBs.
 2
            Available data show that some PCBs have the ability to alter reproductive
 3          processes in mammalian species, sometimes even at doses that do not cause
            other signs of toxicity. Animal data and limited available human data
 4          indicate that prenatal exposure to PCBs can result in various degrees of
 5          developmental toxic effects. Postnatal effects have been demonstrated in
            immature animals following exposure to PCBs prenatally and via breast
 6          milk.
 7
            In some cases chloracne may occur in humans exposed to PCBs. Severe
 8          cases of chloracne are painful and disfiguring, and symptoms may persist
 9          for an extended time…
10   50 Fed. Reg. 35182, 35183-84 (August 29, 1985).
11          5.15   The EPA also determined that Monsanto’s PCBs are probable human
12   carcinogens. In 1996, the EPA reassessed PCB carcinogenicity based on data related to
13   Aroclors 1016, 1242, 1254, and 1260. The EPA’s cancer reassessment was peer reviewed
14   by experts on PCBs, including scientists from government, academia, and industry. U.S.
15   EPA. PCBs: Cancer Does-Response Assessment and Application to Environmental
16   Mixtures (1996). U.S. EPA, Office of Research and Development, National Center for
17   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
18   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
19   accessed November 6, 2017).
20          5.16   This EPA report found that “[j]oint consideration of cancer studies and
21   environmental processes leads to a conclusion that environmental PCB mixtures are
22   highly likely to pose a risk of cancer to humans.” Id. at 57. In addition, “PCBs persist in
23   the body, providing a continuing source of internal exposure after external exposure
24   stops. There may be greater-than-proportional effects from less-than-lifetime exposure,
25   especially for persistent mixtures and for early-life exposure.” Id. at 58-59.
26          5.17   The 1996 EPA report also noted that “PCBs also have significant
27   ecological and human health effects other than cancer, including neurotoxicity,
28   reproductive and developmental toxicity, immune system suppression, liver damage, skin


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 1   irritation, and endocrine disruption. Toxic effects have been observed from acute and
 2   chronic exposures to PCB mixtures with varying chlorine content.” Id. at vi.
 3           5.18   In 2000, the Agency for Toxic Substances and Disease Registry (ATSDR),
 4   issued a public health statement regarding PCB exposure. It noted that “[s]kin conditions,
 5   such as acne and rashes, may occur in people exposed to high levels of PCBs… Some
 6   studies in workers suggest that exposure to PCBs may also cause irritation of the nose
 7   and lungs, gastrointestinal discomfort, changes in the blood and liver, and depression and
 8   fatigue.” Agency for Toxic Substances and Disease Registry (ATSDR). 2000.
 9   Toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.
10   Department of Health and Human Services, Public Health Service, at 4. The public health
11   statement summarized experimental animal studies finding liver damage, anemia, acne-
12   like skin conditions, stomach injuries, thyroid injuries, kidney damage, impaired immune
13   system function, behavioral alterations, endocrine disruption, and impaired reproduction.
14   Id. at 5.
15           5.19   Children are more vulnerable to PCB exposure. The 2000 ATSDR
16   statement also summarized studies tending to show effects in PCB-exposed children: low
17   birthweight; problems with motor skills; decreases in short-term memory; and effects on
18   the immune system. Id. at 6. The report noted that children are more vulnerable to PCB
19   exposure than adults, although the routes of exposure are the same:
20           Children are exposed to PCBs in the same way as are adults: by eating
             contaminated food, breathing indoor air in buildings that have electrical
21
             devices containing PCBs, and drinking contaminated water. Because of
22           their smaller weight, children’s intake of PCBs per kilogram of body
             weight may be greater than that of adults.
23           …
24           It is possible that children could be exposed to PCBs following transport of
             the chemical on clothing from the parent’s workplace to the home. House
25           dust in homes of workers exposed to PCBs contained higher than average
26           levels of PCBs. PCBs have also been found on the clothing of firefighters
             following transformer fires. The most likely way infants will be exposed is
27           from breast milk that contains PCBs. Fetuses in the womb are also exposed
28           from the exposed mother.
             .…

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 1          Because the brain, nervous system, immune system, thyroid, and
            reproductive organs are still developing in the fetus and child, the effects of
 2
            PCBs on these target systems may be more profound after exposure during
 3          the prenatal and neonatal periods, making fetuses and children more
            susceptible to PCBs than adults.
 4
 5   Id. at 5-6. In addition, “Younger children may be particularly vulnerable to PCBs
 6   because, compared to adults, they are growing more rapidly and generally have lower and
 7   distinct profiles of biotransformation enzymes, as well as much smaller fat deposits for
 8   sequestering the lipophilic PCBs.” Id. at 381.
 9
10          5.20   Children are not small adults. The ATSDR toxicological profile for PCBs
11   reiterated these developmental concerns while cautioning against the fallacy that children
12   possess the same level of resilience to toxic exposure as adults: “Children are not small
13   adults… Children also have a longer remaining lifetime in which to express damage from
14   chemicals; this potential is particularly relevant to cancer.” Id. at 380-81.
15          5.21   Workplace PCB exposure can contaminate homes. The ATSDR
16   statement reiterated that workplace exposure to PCBs can result in the worker’s home
17   becoming contaminated with PCBs: “If you are exposed to PCBs in the workplace, it
18   may be possible to carry them home from work… If this is the case, you should shower
19   and changing clothing before leaving work, and your work clothes should be kept
20   separate from other clothes and laundered separately.” Id. at 7.
21          5.22   PCB exposure and cardiovascular damage. A 2011 ATSDR addendum
22   to the toxicological profile for PCBs reported on more recent research, including animal
23   studies showing cardiovascular damage following PCB exposure. Agency for Toxic
24   Substances and Disease Registry (ATSDR). 2011. Addendum to the toxicological profile
25   for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S. ATSDR, Division of
26   Toxicology and Environmental Medicine, at 1.
27          5.23   PCB exposure and type 2 diabetes. The 2011 addendum reported research
28   that “PCB exposure was strongly related to prevalence of type 2 diabetes mellitus.” Id. at


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 1   2-3.
 2          5.24   PCB exposure and deficient immune function. The 2011 addendum
 3   reported research “suggesting possible impaired immunologic development” in children,
 4   and the results of another study that “implied that exposure to PCBs is a possible cause of
 5   deficient immune function in children.” Id. at 4.
 6          5.25   PCB exposure and neurodegenerative diseases. The 2011 addendum
 7   reported other research “that exposure to PCBs likely has an effect on neurodegenerative
 8   diseases for women but not men,” including amyotrophic lateral sclerosis (ALS, also
 9   known as motor neuron disease), Parkinson’s disease, and dementia. Id. at 4.
10          5.26   PCB exposure and neurobehavioral effects, anxiety. The 2011
11   addendum reported animal studies research “that exposure to PCBs may exert anxiogenic
12   behavior.” Id. at 5. An anxiogenic substance is one that causes anxiety.
13          5.27   PCB exposure and central nervous system effects. The 2011 addendum
14   reported animal studies research showing inhibited and depressed central nervous system
15   effects following PCB exposure. Id. at 5-6.
16          5.28   PCB exposure and children’s permanent teeth. The 2011 addendum
17   reported human studies showing “a dose-response relationship between PCB exposure
18   and development enamel defects of permanent teeth in children.” Id. at 7.
19          5.29   PCB exposure and sexual development. The 2011 addendum reported
20   human studies research showing impaired sexual development, including a positive
21   association between high total PCB concentrations and cryptorchidism (undescended
22   testicles) in boys. Another study “suggested that even low levels of PCBs had a robust
23   negative impact on gonadal hormones in newborns.” Id. at 7-8. Another study of girls
24   exposed to PCBs “suggested that even at low levels of estrogenic PCBs, the time to
25   menarche attainment was decreased,” and the “median age at menarche for this cohort
26   (138 girls) was 12.2 years.” Id. at 9. Another study found “that exposure to certain PCB
27   congeners may interfere with human reproductive development” in both boys and girls.
28   Id. at 9. Animal studies also found “dose-related prolongation of the estrous cycle in


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 1   female offspring,” and “changes in body weight, body length, tail length, and weights of
 2   kidneys, testes, ovaries, and uterus.” Id. at 9.
 3          5.30   Broad spectrum of effects. A 2014 ATSDR publication stated that
 4   occupational exposure to PCBs can result in a “broad spectrum of effects that includes
 5   increased levels of some liver enzymes, with possible hepatic damage, chloracne and
 6   related dermal lesions, and respiratory problems.” Agency for Toxic Substances and
 7   Disease Registry (ATSDR). 2014. Case Studies in Environmental Medicine:
 8   Polychlorinated Biphenyls (PCBs) Toxicity. Atlanta, GA: U.S. Depart. of Health and
 9   Human Services, at 39, available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10,
10   last visited on November 7, 2017. The following information references this 2014
11   ATSDR publication.
12          5.31   Acute exposure to PCBs. Signs and symptoms of acute exposure to PCBs
13   can include chloracne, eye irritation, nausea, vomiting, and elevated liver enzymes and
14   altered liver function. Id.at 55-56.
15          5.32   Chronic exposure to PCBs. Signs and symptoms of chronic exposure to
16   PCBs can include abdominal pain, anorexia, jaundice, nausea, vomiting, weight loss,
17   uroporphyria, headache, dizziness, and edema. Id. at 56-57.
18          5.33   Toxic responses to PCBs. Animal studies have shown that “commercial
19   PCBs elicit a broad range of toxic responses including:
20                    Acute lethality,
21                    Body weight loss,
                      Carcinogenesis,
22                    Dermal toxicity,
23                    Fatty liver,
                      Genotoxicity,
24                    Hepatomegaly,
25                    Immunosuppressive effects,
                      Neurotoxicity,
26
                      Porphyria,
27                    Reproductive and developmental toxicity,
28                    Thymic atrophy, and
                      Thyroid hormone-level alterations.”

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 1   Id. at 39-40.
 2          5.34     Dermatological effects. “Conclusive evidence that exposure to PCBs
 3   induces adverse dermal effects in humans exists”:
 4          Chloracne and related dermal lesions have been reported in workers
            occupationally exposed to PCBs.
 5
            …
 6          The chin, periorbital, and malar areas are most often involved, although
            lesions might also appear in areas not usually affected by acne vulgaris
 7          (e.g., the chest, arms, thighs, genitalia, and buttocks). The most distinctive
 8          lesions are cystic and measure 1-10 mm, although comedonal lesions can
            also be present.
 9          …
10          Chloracne generally indicates systemic toxicity and can be caused by not
            only dermal contact but also ingestion of PCBs… Chloracne typically
11          develops weeks or months after exposure. The lesions are often refractory
12          to treatment and can last for years or decades.
13          In addition to chloracne, other dermal effects noted some PCB-exposed
14          workers include pigmentation disturbances of skin and nails, erythema and
            thickening of the skin, and burning sensations.
15
     Id. at 41-42 (internal citations omitted).
16
            5.35     Reproductive and developmental effects. “Reproductive function may be
17
     disrupted by exposure to PCBs,” and “neurobehavioral and development deficits have
18
     been reported in newborns exposed to PCBs in utero.” Id. at 45. Children born to women
19
     exposed to PCBs exhibited statistically significant decreases in gestational age, birth
20
     weight, and head circumference. Id. at 43. Higher levels of PCB exposure correlated with
21
     weaker reflexes, greater motor immaturity, and more pronounced startle responses. Id. at
22
     43-44. Follow-up studies of the children of that cohort “demonstrated that the effects of
23
     perinatal exposure to PCBs are persistent.” Id. at 44. At four years of age, the children
24
     still had deficits in weight gain, depressed responsiveness, and reduced performance on
25
     the visual recognition memory test. Id. at 44. “At 11 years of age, the children of highly
26
     exposed mothers were three times more likely than controls to have low full-scale IQ
27
     scores; twice as likely to lag behind at least 2 years in reading comprehension; and more
28
     likely to have difficulty paying attention.” Id. at 44 (internal citation omitted).

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 1          5.36      Endocrine effects. “The epidemiological studies suggest a link between
 2   exposure to PCBs and thyroid hormone toxicity in humans.” Id. at 46. “Thyroid
 3   hormones are essential for normal behavioral, intellectual, and neurologic development.
 4   Thus, the deficits in learning, memory, and attention processes among the offspring of
 5   women exposed to PCBs are partially or predominantly mediated by alterations in
 6   hormonal binding to the thyroid hormone receptor.” Id. “Recent studies in populations
 7   exposed to PCBs and chlorinated pesticides found a dose-dependent elevated risk of
 8   diabetes.” Id.
 9          5.37      Hepatic effects. “Although liver damage is common in animals exposed to
10   PCBs, overt hepatotoxicity is uncommon in humans. Exposure to PCBs can increase
11   serum levels of hepatic enzymes and can induce microsomal enzyme function.” Id. at
12   46-48.
13          5.38      Neurological effects. Adults exposed to PCBs have been shown to have
14   significantly greater motor retardation; poorer results on certain memory and attention
15   tests; and higher scores on standardized confusion scale than did control adults. Id. at 51.
16          5.39      Additional adverse effects. “Occupational and epidemiologic studies have
17   suggested or demonstrated other adverse health effects from exposure to PCBs,”
18   including cardiovascular, gastrointestinal, genetic, immune, musculoskeletal, and
19   neurological systems. Id. at 51-52.
20          5.40      Additional signs and symptoms. The ATSDR “advises patients to consult
21   their physicians if they develop signs or symptoms of PCB exposure such as: appetite
22   loss; joint pain; nausea; skin disorders, changes, or discoloration; breast changes or
23   lumps; and/or stomach distress and pain.” Id. at 68.
24          5.41      Highly toxic PCDDs and PCDFs. “Occupational exposure to PCBs may
25   be accompanied by exposure to chlorinated dibenzodioxin and dibenzofuran
26   contaminants, which are much more toxic than PCBs in comparative animal studies.
27   These substances can cause chronic fatigue and elevated liver enzymes.” Id. at 57.
28          5.42      PCBs are a “probable human carcinogen.” The Department of Health


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 1   and Human Services and the Environmental Protection Agency “consider PCBs a
 2   probable human carcinogen.” Id. at 51. In addition, and “on the basis of sufficient
 3   evidence of carcinogenicity in humans and experimental animals, the IARC
 4   [International Agency for Research on Cancer] classified PCBs as carcinogenic to
 5   humans.” Id. PCB exposure has been linked to cancers of the liver, gallbladder, biliary
 6   tract, brain, stomach, intestinal, thyroid, myeloma (cancer of plasma cells, which can
 7   damage the bones, immune system, kidneys, and red blood cell count), non-Hodgkin
 8   lymphoma (a cancer that starts in the lymphatic system), and the skin, such as malignant
 9   melanomas. Id. at 48-50. In addition, “data from animal studies have shown that PCBs
10   cause gastrointestinal tract tumors, hepatocarcinomas, leukemia, lymphomas, and
11   pituitary tumors.” Id. at 50.
12          5.43   IARC: “PCBs are carcinogenic to humans.” In 2016, the International
13   Agency for Research on Cancer published an assessment on the carcinogenicity of PCBs.
14   International Agency for Research on Cancer. IARC monographs on the evaluation of
15   carcinogenic risks to humans, volume 107. Polychlorinated and Polybrominated
16   Biphenyls (2016), available at http://monographs.iarc.fr/ENG/Monographs/vol107/index.php (last
17   accessed November 6, 2017. The IARC report concluded, “There is sufficient evidence in
18   humans for the carcinogenicity of polychlorinated biphenyls (PCBs). PCBs cause
19   malignant melanoma. Positive associations have been observed for non-Hodgkin
20   lymphoma and cancer of the breast... PCBs are carcinogenic to humans.” Id. at 439
21   (emphasis in original).
22          5.44   Wide range of cancers and lesions. Animal and human studies show
23   associations between PCB exposure and other cancers and lesions not specifically
24   enumerated above. These can include prostate cancer, testicular cancer, pancreatic
25   cancer, lung cancer, mouth cancer, uterine cancer, and non-neoplastic lesions of the liver,
26   thyroid gland, ovary, oviduct, uterus, lung, adrenal cortex, pancreas, kidney, heart,
27   thymus, spleen, clitoral gland, mesenteric artery, oral mucosa, bone marrow, and bladder.
28   See, e.g., Agency for Toxic Substances and Disease Registry (ATSDR). 2011. Addendum


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 1   to the toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.
 2   ATSDR, Division of Toxicology and Environmental Medicine, at 10-14.
 3      C.     Monsanto knew PBCs were toxic, but promoted them without warnings.
 4           5.45   “Monsanto was well aware of scientific literature published in the 1930s
 5   that established that inhalation of PCBs in industrial settings resulted in toxic systemic
 6   effects in humans.” State of Washington’s Complaint for Damages against Monsanto, p.
 7   12, ¶ 49, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
 8           5.46   A 1937 Monsanto memorandum advised that “Experimental work in
 9   animals shows that prolonged exposure to Aroclor vapors evolved at high temperatures or
10   by repeated oral ingestion will lead to systemic toxic effects. Repeated bodily contact
11   with the liquid Aroclors may lead to an acne-form skin eruption.” Id. at ¶ 50; see Sky
12   Valley Complaint, Exhibit B (from City of Spokane v. Monsanto Co., Case 2:15-cv-
13   00201-SMJ, ECF No. 1-2 (E.D. Wash. July 31, 2015), MONS 061332).
14           5.47   A 1955 memorandum entitled “AROCLOR TOXICITY” by Monsanto
15   Medical Director Emmet Kelly summarized Monsanto’s position on PCB toxicity: “We
16   know Aroclors are toxic but the actual limit has not been precisely defined. It does not
17   make too much difference, it seems to me, because our main worry is what will happen if
18   an individual develops any type of liver disease and gives a history of Aroclor exposure. I
19   am sure the juries would not pay a great deal of attention to MACs [maximum allowable
20   concentrates].” State of Washington’s Complaint for Damages against Monsanto, p. 12, ¶
21   51, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
22   Complaint, Exhibit C (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
23   ECF No. 1-3 (E.D. Wash. July 31, 2015), MONS 095196-97) at 2.
24           5.48   A 1955 “CONFIDENTIAL” memorandum by Monsanto’s Medical
25   Department stated that workers should not be allowed to eat lunch in the Aroclor
26   department. Three reasons were provided, including the fact that “Aroclor vapors and
27   other process vapors could contaminate the lunches unless they were properly protected.”
28   See Sky Valley Complaint, Exhibit D (from City of Spokane v. Monsanto Co., Case 2:15-


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 1   cv-00201-SMJ, ECF No. 1-4 (E.D. Wash. July 31, 2015) at 2.
 2            5.49   In addition, after noting that “the chance of contaminating hands and
 3   subsequently contaminating the food is a definite possibility,” the Medical Department
 4   stated that
 5            It has long been the opinion of the Medical Department that eating in
              process departments is a potentially hazardous procedure that could lead to
 6
              serious difficulties. While the Aroclors are not particularly hazardous from
 7            our own experience, this is a difficult problem to define because early
              literature work claimed that chlorinated biphenyls were quite toxic
 8            materials by ingestion or inhalation. In any case where a workman
 9            claimed physical harm from any contaminated food, it would be extremely
              difficult on the basis of past literature reports to counter such claims.
10
11   Id. (emphasis added); see also State of Washington’s Complaint for Damages against
12   Monsanto, pp. 12-13, ¶ 52, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
13   2016).
14            5.50   A 1957 internal memorandum by Monsanto Medical Director Emmet Kelly
15   reported that, after it conducted its own tests, the U.S. Navy decided against using
16   Monsanto’s Aroclors: “No matter how we discussed the situation, it was impossible to
17   change their thinking that [Aroclor-containing] Pydraul 150 is just too toxic for use in a
18   submarine.” State of Washington’s Complaint for Damages against Monsanto, p. 13, ¶
19   53, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
20   Complaint, Exhibit E (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
21   ECF No. 1-5 [E.D. Wash. July 31, 2015]) at 2.
22            5.51   Therefore, by the 1950s, Monsanto knew that its PCBs a/k/a “Aroclors are
23   toxic but the actual limit has not been precisely defined.” Supra at ¶ V.C.3. Perhaps
24   reflecting on this, Monsanto’s Medical Director Kelly made the reasonable observation
25   that “juries would not pay a great deal of attention” to exposure limits set by the industry.
26   Id. This is reasonable because so-called exposure limits have not been based on human
27   subject testing, which would be unethical. Instead, the industry extrapolated so-called
28   human exposure limits from laboratory tests of small mammals like rats, guinea pigs,


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 1   rabbits, and dogs, who have a limited ability to report or demonstrate complaints
 2   following PCB exposure before dying—or being killed—and then dissected for the
 3   pathological examination of lesions. See, e.g., Exhibits L and R. Regardless, Monsanto
 4   also knew that “early literature work claimed that chlorinated biphenyls were quite toxic
 5   materials by ingestion or inhalation.” Supra at ¶ V.C.5.
 6          5.52   In 1966 or 1967, Monsanto Medical Director Emmet Kelly reviewed a
 7   scientific presentation by University of Stockholm researcher Soren Jensen, who stated
 8   that PCBs “appear to be the most injurious chlorinated compounds of all tested.” See Sky
 9   Valley Complaint, Exhibit F (from City of Spokane v. Monsanto Co., Case 2:15-cv-
10   00201-SMJ, ECF No. 1-6 [E.D. Wash. July 31, 2015]), at JDGFOX00000038 (at
11   bottom). Researcher Jensen referred to a 1939 study associating PCBs with the deaths of
12   three young workers and concluding that “pregnant women and persons who have at any
13   time had any liver disease are particularly susceptible.” Id. at JDGFOX00000039.
14   Monsanto Medical Director Kelly did not dispute the researcher’s remarks, noting in the
15   1967 letter to the Research Division of National Cash Register, that “As far as the section
16   on toxicology is concerned, it is true that chloracne and liver trouble can result from large
17   doses.” Id. at JDGFOX00000037; see also State of Washington’s Complaint for
18   Damages against Monsanto, p. 13, ¶ 54, Case No. 16-2-29591-6, King County Superior
19   Court (Dec. 8, 2016). Medical Director Kelly did not define the term “large doses.”
20          5.53   By the latter half of the 1960s, Monsanto became aware that PCBs were
21   causing widespread contamination of the environment. See Sky Valley Complaint,
22   Exhibits G, H, and L (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
23   ECF No. 1-7, 1-8, 1-13 [E.D. Wash. July 31, 2015]); see also State of Washington’s
24   Complaint for Damages against Monsanto, p. 14, Case No. 16-2-29591-6, King County
25   Superior Court (Dec. 8, 2016).
26          5.54   Despite the growing evidence of harm caused to living things by PCB
27   contamination, Monsanto remained steadfast in its production of PCBs. See State of
28   Washington’s Complaint for Damages against Monsanto, p. 19, ¶ 60, Case No. 16-2-


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 1   29591-6, King County Superior Court (Dec. 8, 2016).
 2         5.55   In March of 1969, Monsanto employee W.M. Richard wrote a
 3   memorandum entitled “AROCLOR WILDLIFE ACCUSATIONS” to Monsanto
 4   employee Elmer Wheeler. See Sky Valley Complaint, Exhibit I (from City of Spokane v.
 5   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-9 [E.D. Wash. July 31, 2015]),
 6   Bates No. MONS 096509-11. In the memorandum, Richard responded to a 1968 article
 7   in Nature criticizing PCBs as being (in Richard’s paraphrasing) “a pollutant… a toxic
 8   substance—with no permissible allowable levels… [and] a toxic substance endangering
 9   man himself, implying that the [extinction] of the peregrine falcon is a leading indicator
10   of things to come.” Id. at MONS 096509. Richard also responded to a 1969 article in
11   Science regarding the Environmental Defense Fund’s legal strategy, which Richard
12   summarized in part by writing that
13         These people at EDF are saying we must not put stress on any living thing
           through a change in air or water environment. Eagles, plant life, anything
14
           which lives or breathes. This group is pushing hard on the extension of the
15         word harmful. They claim ‘enzyme inducer’ activity is the real threat of
           DDT and PCB’s and are using these arguments to prove that very small
16
           amounts of chlorinated hydrocarbons are ‘harmful.’
17
18   Id. (emphasis in original). Richards also explained that Monsanto could take steps to
19   reduce PCB releases from its own factories, but he cautioned that “It will be still more
20   difficult to control other end uses such as cutting oils, adhesives, plastics, and NCR
21   paper. In these applications, exposure to consumers is greater and the disposal problem
22   becomes complex.” Id. at MONS 096510; see also State of Washington’s Complaint for
23   Damages against Monsanto, pp. 14-15, Case No. 16-2-29591-6, King County Superior
24   Court (Dec. 8, 2016).
25         5.56   During this time period, “the coordination of the Division effort has been
26   principally the responsibility W.R. Richard and E.P. Wheeler with support from R.E.
27   Keller and Cumming Paton.” See Sky Valley Complaint, Exhibit M (from City of
28   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31,


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 1   2015]), Bates No. DSW 014623.
 2         5.57   In September of 1969, Monsanto employee W.R. Richard wrote an
 3   interoffice memorandum entitled “DEFENSE OF AROCLOR.” See Sky Valley
 4   Complaint, Exhibit J (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
 5   ECF No. 1-10 [E.D. Wash. July 31, 2015]), Bates No. DSW 014256-63. The
 6   memorandum set out Monsanto’s general policy on defending litigation against the
 7   public: “Make the Govt., States and Universities prove their case.” The memorandum
 8   acknowledged, however, that Monsanto
 9         can’t defend vs. everything. Some animals or fish or insects will be
           harmed. Aroclor degradation rate will be slow. Tough to defend against.
10
           Higher chlorination compounds will be worse [than] lower chlorine
11         compounds. Therefore we will have to restrict uses and clean-up as much
           as we can, starting immediately.
12
13   Id. at DSW 014256 (emphasis added). Based on this, Monsanto knew by the late 1960s
14   that “some animals or fish or insects will be harmed” in the general environment, where
15   PCB contamination is low and diffuse—as opposed to PCB contamination in a more
16   enclosed space such as a classroom, as shown below. The 1969 memorandum also
17   outlined Monsanto’s plans for challenging scientific studies of the toxicity of PCBs:
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27   Id. at DSW 014256. The memorandum also outlined Monsanto’s own plans for chronic
28   toxicity studies using animals. Id. at DSW 014262-63; see also State of Washington’s


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 1   Complaint for Damages against Monsanto, p. 15, ¶ 60, Case No. 16-2-29591-6, King
 2   County Superior Court (Dec. 8, 2016).
 3         5.58   In January of 1970, Elmer Wheeler of Monsanto’s Medical Department
 4   circulated laboratory results of its animal studies. The memorandum was entitled “Status
 5   of Aroclor Toxicological Studies.” See Sky Valley Complaint, Exhibit K (from City of
 6   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-11 [E.D. Wash. July 31,
 7   2015]), Bates No. MONS 098480. Wheeler stated, “Our interpretation is that the PCBs
 8   are exhibiting a greater degree of toxicity in this chronic study than we had
 9   anticipated. Secondly, although there are variations depending on species of animals, the
10   PCBs are about the same as DDT in mammals.” Id. (emphasis added).
11         5.59   Monsanto expressed a desire to keep profiting from PCBs despite the
12   research showing PCB toxicity. See Sky Valley Complaint, Exhibit A. In the “PCB
13   Presentation to Corporate Development Committee,” Monsanto stated that “Do[ing]
14   nothing was considered unacceptable from a legal, moral, customer, public relations &
15   company policy viewpoint.” Id. at MONS 058737. But the alternative of stopping PCB
16   production and promotion, and instead going out of the Aroclor business, “was
17   considered unacceptable from a Divisional viewpoint… there is too much
18   customer/market need and selfishly too much Monsanto profit to go out.” Id.
19         5.60   Monsanto formed an internal Aroclor Ad Hoc Committee whose objectives,
20   “agreed to by the Committee,” were to “submit recommendations for action which will:
21   1. Permit continued sales and profits of Aroclors and Terphenyls. 2. Permit continued
22   development of uses and sales. 3. Protect image of Organic Division and of the
23   Corporation.” State of Washington’s Complaint for Damages against Monsanto, pp. 15-
24   16, ¶ 62, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky
25   Valley Complaint, Exhibit L (from City of Spokane v. Monsanto Co., Case 2:15-cv-
26   00201-SMJ, ECF No. 1-12 [E.D. Wash. July 31, 2015]), Bates No. MONS 030483-86
27   (“CONFIDENTIAL MINUTES OF AROCLOR ‘AD HOC’ COMMITTEE”). Monsanto
28   set these business objectives despite knowing that PCBs had been found in the


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 1   environment, wildlife, and the food chain, as PCBs “may be a global contaminant.” Id. In
 2   these confidential minutes, Monsanto recognized the problem of PCB “environmental
 3   contamination by customers.” Id. at MONS 030485 (“Our in-plant problems are very
 4   small vs. problems of dealing with environmental contamination by customers.”).
 5          5.61   In October of 1969, Monsanto’s Aroclor “Ad Hoc” Committee issued its
 6   confidential report. See Sky Valley Complaint, Exhibit M (from City of Spokane v.
 7   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31, 2015]),
 8   Bates No. DSW 014612-24. The committee reported environmental PCB contamination
 9   causing the killing of marine species and the possible extinction of several species of
10   birds. Id. at DSW 014615. In addition, “the committee believes that there is no possible
11   practical course of action that can so effectively police the uses of these products as to
12   prevent completely some environmental contamination.” Id.                (underscore           and
13   strikethrough in original). The report outlined a plan to protect Monsanto’s corporate
14   interests: “There are, however a number of possible actions which must be undertaken in
15   order to prolong the manufacture, sale, and use of these particular Aroclors as well as to
16   protect the continued use of other members of the Aroclor series.” Id. (strikethrough and
17   underscore in original).
18          5.62   The committee offered recommendations, including notifying PCB
19   “customers of environmental contamination problems.” Id. at DSW 014616. The basis for
20   the recommendation, in part, concerned reports of PCB environmental contamination and
21   Monsanto’s knowledge of the mechanisms of PCB releases:
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15   Id. at DSW 014618.
16         5.63   Despite the environmental damage caused by its PCB products, Monsanto
17   was clearly concerned about losing the production of PCBs and the associated “sales of
18   this very profitable series of compounds”:
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28   Id. at DSW 014624.

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 1          5.64   Therefore, by 1970, the escape of PCBs into surrounding environments and
 2   the resulting contamination was not only reasonably foreseeable, but the problem was
 3   known to Monsanto. In addition, the escape of Monsanto’s PCBs by PCB customers and
 4   users into surrounding environments was not only reasonably foreseeable, but was known
 5   to Monsanto. See also State of Washington’s Complaint for Damages against Monsanto,
 6   pp. 23-24, ¶ 99, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
 7          5.65   By 1970, Monsanto also knew that its PCBs exhibited a greater degree of
 8   toxicity than Monsanto previously anticipated. Supra at ¶ V.C.14.
 9          5.66   Despite this knowledge, Monsanto chose not to warn its customers and the
10   public regarding the human health dangers of Monsanto’s PCBs. Any statements made
11   by Monsanto in that regard have been insufficient to convey the actual dangers posed by
12   PCBs. Instead, Monsanto’s efforts were and continue to be focused on protecting its own
13   profits.
14          5.67   An interoffice memorandum circulated in February of 1970 that provided
15   talking points for discussions by Monsanto representatives with PCB customers.
16   Monsanto informed its PCB representatives that Monsanto “can’t afford to lose one
17   dollar of business.” To that end, Monsanto stated, “We want to avoid any situation where
18   a customer wants to return fluid… We would prefer that the customer use up his current
19   inventory and purchase [new products] when available. He will then top off with the new
20   fluid and eventually all Aroclor 1254 and Aroclor 1260 will be out of his system. We
21   don’t want to take fluid back.” See Sky Valley Complaint, Exhibit N (from City of
22   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-14 [E.D. Wash. July 31,
23   2015]), at 2 (emphasis in original); see also State of Washington’s Complaint for
24   Damages against Monsanto, p. 17, ¶ 67, Case No. 16-2-29591-6, King County Superior
25   Court (Dec. 8, 2016).
26          5.68   In roughly this same time period, Monsanto advised public officials that
27   Monsanto’s PCBs “are not particularly toxic by oral ingestion or skin absorption” and
28   “infrequent exposure to PCB vapor should not cause ill effects.” See Sky Valley


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 1   Complaint, Exhibits O and P (from City of Spokane v. Monsanto Co., Case 2:15-cv-
 2   00201-SMJ, ECF No. 1-15, 1-16 [E.D. Wash. July 31, 2015]); see also State of
 3   Washington’s Complaint for Damages against Monsanto, p. 20, ¶ 76, Case No. 16-2-
 4   29591-6, King County Superior Court (Dec. 8, 2016) (“While the scientific community
 5   and Monsanto knew that PCBs were toxic and becoming a global contaminant, Monsanto
 6   repeatedly mispresented these facts, telling governmental entities the exact opposite—
 7   that the compounds were not toxic and that the company would not expect to find PCBs
 8   in the environment in a widespread manner.”).
 9         5.69   Monsanto also offered the message to a member of Congress that Monsanto
10   “cannot conceive how the PCBs can be getting into the environment in a widespread
11   fashion.” See Sky Valley Complaint, Exhibits Q (from City of Spokane v. Monsanto Co.,
12   Case 2:15-cv-00201-SMJ, ECF No. 1-17 [E.D. Wash. July 31, 2015]); see also State of
13   Washington’s Complaint for Damages against Monsanto, p. 21, ¶ 79, Case No. 16-2-
14   29591-6, King County Superior Court (Dec. 8, 2016).
15         5.70   Monsanto also represented to another governmental official that “Based on
16   available data, manufacturing and use experience, we do not believe the polychlorinated
17   biphenyls to be seriously toxic.” See Sky Valley Complaint, Exhibit R (from City of
18   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-18 [E.D. Wash. July 31,
19   2015]) at 3; see also State of Washington’s Complaint for Damages against Monsanto, p.
20   21, ¶ 80, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
21         5.71   Clearly, Monsanto’s knowledge of PCB toxicity deepened between the
22   1930s and the 1970s. Despite its knowledge of PCB toxicity, Monsanto intentionally
23   produced and promoted PCBs “for use in a wide range of industrial and household goods,
24   including electrical equipment, paint, sealants, food cookers, furnaces, floor wax,
25   insecticides, lubricants, moisture-proof coatings, papers, asphalt, leather adhesive, and
26   stucco.” City of Seattle v. Monsanto Co., 237 F. Supp. 3d 1096, 1100 (W.D. Wash. 2017).
27         5.72   “Though Monsanto was aware of PCBs’ toxicity and propensity to leach, it
28   denied or misrepresented those facts to government investigators. Monsanto continued to


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 1   manufacture, promote, and profit from its PCBs.” Id. (internal citations omitted) (holding
 2   that Seattle’s claims against Monsanto for public nuisance and equitable indemnity are
 3   not preempted by Washington’s Product Liability Act (WPLA); Seattle’s common law
 4   product liability claims are not preempted by WPLA to the extent they arose on or before
 5   1981; Seattle’s claims are not time-barred; Seattle stated a claim for public nuisance,
 6   the court rejecting Monsanto’s argument that any intervening acts of third parties
 7   cut off proximate causation, because such acts were foreseeable; Seattle lacked
 8   standing to bring product liability claims; Seattle stated a claim for negligence; and
 9   Seattle failed to allege facts supporting its claim for equitable indemnity).
10          5.73   Monsanto intentionally failed to warn customers and the public regarding
11   the toxicity and hazards of its PCB products. See, e.g., Nevada Power Co. v. Monsanto
12   Co., 955 F.2d 1304, 1306-07 (9th Cir. 1992) (“Nevada Power discovered internal
13   documents of the Manufacturers which Nevada Power contends show that the
14   Manufacturer’s understanding of the dangers of PCBs in the 1960s and early 1970s was
15   much more advanced than the general state of knowledge in the scientific community”)
16   (holding, in part, that it was a fact question as to whether Nevada Power’s fraud and
17   failure to warn claims were barred by the Nevada statute of limitations).
18          5.74   Monsanto’s PCBs were not reasonably safe in construction because they
19   were unsafe—"extremely toxic”—to an extent beyond that which would be contemplated
20   by an ordinary consumer. The extreme toxicity of Monsanto’s PCBs was a proximate
21   cause of Plaintiffs’ damages.
22          5.75   Monsanto’s PCBs were not reasonably safe as designed under a balancing
23   test or under a consumer expectations test, which was a proximate cause of Plaintiffs’
24   damages.
25          5.76   Monsanto’s PCBs were an unavoidably unsafe product, which was a
26   proximate cause of Plaintiffs’ damages.
27          5.77   Monsanto’s PCBs were not reasonably safe due to inadequate warnings
28   when manufactured or after manufacture.


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 1             5.78   Any Monsanto warnings to the non-Monsanto parties in this case at the
 2   time of manufacture regarding the extreme toxicity of PCBs, were inadequate and a
 3   proximate cause of Plaintiffs’ damages.
 4             5.79   Any Monsanto warnings to the non-Monsanto parties in this case after
 5   manufacture—and up to the present day—regarding the extreme toxicity of Monsanto’s
 6   PCBs, have been inadequate, which was a proximate cause of Plaintiffs’ damages.
 7             5.80   Due to their extreme toxicity, Monsanto’s PCBs never had a “useful safe
 8   life.”
 9             5.81   Monsanto had actual knowledge of the defect and the danger of its PCBs,
10   but showed complete indifference or conscious disregard for the safety of others by
11   producing and promoting PCBs anyway.
12        D.   PCB-caulking and PCB-light ballasts cause PCB-contamination.
13             5.82   Monsanto manufactured PCBs that were incorporated by Monsanto’s
14   customers as plasticizers in caulking, paints, and sealants. In these forms, Monsanto’s
15   PCBs were used in interior and exterior windows, doors, and masonry joints.
16             5.83   Even today, caulking with high PCB levels are usually still flexible and
17   often largely intact.
18             5.84   PCB-caulking emits PCBs, which migrate into the air and nearby materials,
19   including adjoining wood, cement, and brick; air and dust inside schools; soil near school
20   buildings, and other materials and furnishing.
21             5.85   The following information comes from a publication of the United States
22   Environmental Protection Agency (2014, pp. 7-9). Thomas, K. (2014). PCBs in school
23   buildings: sensible steps to healthier school environments. Washington, DC: U.S. EPA
24   Office of Research and Development.
25   //
26   //
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     //

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                          PCB Sources – Caulk and Other Sealants

                                          U.S. Production of Aroclors as a plasticizer ingredient
                                               1958 - 4 million lbs.
                                               1969 - 19 million lbs.
                                               1971 – 0 lbs.


                                          PCBs were sometimes added to caulk during construction


                                           U d ffor
                                          Used
                                               Exterior and interior windows and doors
                                               Exterior and interior joints
                                               Window glazing
                                               Other locations/seams (plumbing, casework, etc.)


                                          Caulk with PCBs > 50 parts per million (ppm) is not an
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                                           allowed use


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                          PCB Sources – Caulk and Other Sealants

                                          In several northeastern schools:

                                              18% of 427 interior caulk/sealant samples >50 ppm PCBs
                                              6% of interior samples >100,000 ppm (10% by weight)

                                              63% of 73 exterior caulk/sealant samples >50 ppm PCBs
                                              34% of exterior samples >100,000 ppm

                                              Highest level was 440,000 ppm PCBs (44% by weight)


                                          We e have
                                                 a e found
                                                      ou d that  caulk with high
                                                              a cau           g PCB
                                                                                 C levels
                                                                                    e e s iss usually
                                                                                              usua y sstill
                                           flexible and often largely intact


                                          Visual identification of caulk with PCBs is not reliable
                                                                                                              Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 37 of 107




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                          PCB Sources – Caulk and Other Sealants

                                          PCBs in caulk/sealants move over time into:
                                               Adjoining wood, cement, brick
                                               Air and dust inside schools
                                               Soil near school buildings
                                                                         g
                                               Other materials/furnishings

                                          Emissions of PCBs into the air can be quite substantial
                                               Emissions can create indoor air levels above
                                                recommended concentrations
                                               As the temperature increases, emissions increase
                                                                    p
                                               Ventilation is an important factor

                                          Although installed 40 – 60 years ago, high PCB levels
                                           remain and emissions will continue far into the future

                                          Other PCB sources, like coatings and paints, will act much
                                                                                                         Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 38 of 107




                                           like caulk in releasing PCBs into the environment

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 1          5.86   As stated by the EPA (supra, p. 9), PCB-caulking and other sealants in
 2   school buildings can create indoor air levels above recommended concentrations. In
 3   addition, “high PCB levels remain and emissions will continue far into the future.” Id.
 4          5.87   Monsanto’s PCBs were also produced and promoted as components of
 5   electrical equipment such as transformers, motor start capacitors, and lighting ballasts.
 6          5.88   “Commercial PCB mixtures vary from colorless to dark brown oils, and
 7   from viscous liquids to sticky resinous semisolids. Although PCBs evaporate slowly at
 8   room temperature, the volatility of PCBs increases dramatically with even a small rise in
 9   temperature. Equipment that contains PCBs can overheat and vaporize significant
10   quantities of these compounds, creating an inhalation hazard that can be magnified by
11   poor ventilation” (ATSDR, 2014, p. 25).
12          5.89   As stated by the State of Washington, “PCBs easily migrate or volatilize
13   out of their original source material or enclosure and contaminate environmental media
14   such as air, soil, stormwater, and sediment. For example, PCB compounds volatilize out
15   of building materials (such as caulk) and into the surrounding environment. PCBs
16   can also escape from totally enclosed materials (such as light ballasts) and similarly
17   contaminate and damage the environment.” State of Washington’s Complaint for
18   Damages against Monsanto, p. 9, ¶ 37, Case No. 16-2-29591-6, King County Superior
19   Court (Dec. 8, 2016) (emphasis added).
20          5.90   As stated by the State of Washington, “PCBs present serious risks to the
21   health of humans… Humans may be exposed to PCBs through ingestion, inhalation, and
22   dermal contact. Individuals may inhale PCBs that are emitted into the air. They may also
23   ingest PCBs that are emitted into air and settle onto surfaces that come into contact with
24   food or drinks. And they may absorb PCBs from physical contact with PCBs or PCB-
25   containing materials.” State of Washington’s Complaint for Damages against Monsanto,
26   p. 9, ¶ 38-39, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
27          5.91   PCB light ballasts release PCBs. The preceding information comes from
28   the same EPA publication regarding PCBs in school buildings (EPA, 2014, pp. 10-11).


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     COMPLAINT FOR DAMAGES - 36                                                    (206) 501-4446
                         PCB Sources – Fluorescent Light Ballasts


                                          Fluorescent and high intensity light ballast capacitors
                                               Prior to 1977 - Many (most?) contained PCBs
                                               1977 – 1978 - Some new ballasts contained PCBs
                                               After
                                                Aft 1978      - No    ballasts
                                                                N new b ll t manufactured PCBs
                                                                                 f t d w PCB


                                          Some PCB-containing ballasts remain in place
                                               In several northeastern schools, 24% - 95% of the light
                                                ballasts likely contained PCBs


                                          Most PCB-containing ballasts have exceeded their expected
                                           lifetimes


                                          Failure and release of PCBs will continue and may increase
                                                                                                          Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 40 of 107




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COMPLAINT FOR DAMAGES - 37
                         PCB Sources – Fluorescent Light Ballasts

                                          PCBs are continuously released into the air from intact,
                                           functioning
                                                     g light
                                                         g ballasts
                                               When lights are off, emissions are low
                                               When lights are on, the ballast heats up, and emissions
                                                         several fold
                                                increase several-fold


                                          PCB ballasts can fail, releasing PCB vapors into the air and
                                           liquid PCBs onto surfaces
                                               Air levels of PCBs can become quite large
                                               Surfaces can be contaminated
                                               Significant impact/costs to remediate


                                          Residues from previously failed ballasts can remain in light
                                           fixtures even if the ballast is replaced
                                               The impact on PCBs in the school environment has not
                                                                                                           Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 41 of 107




                                                been determined

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 1   As stated (p. 10), PCB-containing light ballasts were manufactured until the late 1970s.
 2   (“Light ballasts” are components of light fixtures in buildings.) The “failure and release
 3   of PCBs will continue and may increase” in school buildings containing PCB-light
 4   ballasts. Id. This is because “PCBs are continuously released into the air from intact,
 5   functioning light ballasts. When lights are off, emissions are low. When lights are on, the
 6   ballast heats up, and emissions increase several-fold.” Id. at 11.
 7          5.92   Failed PCB ballasts cause high levels of PCB contamination. In
 8   addition, “PCB ballasts can fail, releasing PCB vapors into the air and liquid PCBs onto
 9   surfaces.” Id. When that occurs, “Air levels of PCBs can become quite large. Surfaces
10   can be contaminated.” Id.
11          5.93   Toxic PCDDs and PCDFs. Also of concern are the extremely toxic
12   chemical byproducts of failing PCB-light ballasts, including dioxins and furans. Failing
13   PCB-ballasts that pyrolyze their PCB contents generate and emit additional toxic
14   chemicals called polychlorinated dibenzodioxins (PCDDs) and polychlorinated
15   dibenzofurans (PCDFs). 50 Fed. Reg. 29,171 (July 17, 1985); Ahrens v. Pacific Gas &
16   Electric Co., 197 Cal.App.3d 1134, 1139, fn 2, 243 Cal.Rptr. 420 (1988).
17          5.94   Over time, school building materials become secondary sources of PCB
18   contamination after absorbing PCBs emitting from the primary contamination sources, as
19   illustrated in this diagram and in the following EPA slides (2014, pp. 12, 2):
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                         PCB Sources – Secondary Sources/Sinks


                                          PCBs released from primary sources are absorbed into
                                           other materials in the school environment over time


                                          Following g removal of primary                          y
                                                                        y sources, PCBs in secondary
                                           sources may be released into the school environment and
                                           result in continuing exposures


                                          In some cases, secondary sources may need to be
                                           considered for additional remedial actions following
                                           removal/remediation of primary sources
                                                                                                       Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 43 of 107




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COMPLAINT FOR DAMAGES - 40
                            PCBs - A Complex Problem in Buildings
          Example Scenario                             Over 100 PCB chemicals
                                                             p p
                                                       Multiple primary
                                                                       y sources p
                                                                                 possible
                                                       Transport from sources to air, surfaces,
                                                            dust, soil
                                                       Secondary sources created
                        Primary Sources
                             Caulk                     Exposures through multiple pathways
                             Light Ballast
                                                       Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit
                                                                                                                Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 44 of 107




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                                                                  Primary PCB   Secondary PCB
                                                    Ventilation                                     Dust/Soil
COMPLAINT FOR DAMAGES - 41                                        Source        Sources and Sinks
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 1         5.95   For these and other reasons, schools should not contain Monsanto’s PCBs.
 2         5.96   When a reasonably careful manufacturer learns that its product is toxic and
 3   poses public health hazards, the manufacturer stops manufacturing it, recalls its product,
 4   and warns the public about the product.
 5         5.97   But Monsanto never recalled PCBs, despite knowing their toxicity and
 6   danger to public health. Instead, Monsanto continued to promote PCBs, particularly in
 7   electrical applications, until PCBs were banned.
 8         5.98   Monsanto did not warn users of PCBs, such as the School District, the
 9   Health District, or the Plaintiffs, that Monsanto’s PCBs are extremely toxic and pose a
10   public health hazard.
11         5.99   Monsanto provided the public with no warnings, notices, bulletins, or
12   information that PCBs are extremely toxic and pose a public health hazard. Any
13   information provided by Monsanto during or after manufacture has been inadequate.
14         5.100 Monsanto’s PCBs have contaminated schools in Washington, including the
15   school in this case, causing harm to occupants of the school, including the Plaintiffs. As
16   shown above, this was not only reasonably foreseeable, it was actually known to
17   Monsanto that such harm would come to third parties such as the Plaintiffs. Accordingly,
18   the Plaintiffs seek damages against Monsanto.
19         5.101 It was also reasonably foreseeable, based on Monsanto’s history of
20   experience with PCB customers and users, that some inspectors, owners, operators,
21   providers, or maintainers of buildings would engage in negligent conduct that causes
22   harm to third parties by exposing them to Monsanto’s PCBs.
23         5.102 Unfortunately, Monsanto’s PCBs continue to contaminate schools built
24   before 1980, including the school in this case. As shown above, this is because Monsanto
25   intentionally produced and promoted PCBs in a variety of construction applications. As a
26   result of Monsanto’s conduct, it was reasonably foreseeable that Monsanto’s PCBs would
27   be incorporated in buildings, including the school in this case, and would contaminate
28   classrooms used by people, including the Plaintiffs, causing them damages. Monsanto’s


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 1   PCB contamination of Sky Valley Education Center was a legal cause of injury to the
 2   Plaintiffs.
 3          5.103 As shown in the following EPA slide (2014, p. 16), “Occupants in schools
 4   with interior PCB sources will be exposed to PCBs in the indoor air, dust, and on surfaces
 5   through their normal activities.” For the Plaintiffs and others in such school buildings,
 6   “Exposures will occur through inhalation, ingestion, and dermal contact.”
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28   The full EPA slide appears on the following page:


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                            Exposures to PCBs in the School Environment

                                                   Occupants in schools with interior PCB sources will be
                                                    exposed to PCBs in the indoor air, dust, and on surfaces
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                                                    through
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                                                            their
                                                               i normall activities
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                                                   In school buildings with exterior PCB sources, exposures
                                                    may occur through contact with contaminated soil


                                                   Exposures will occur through inhalation, ingestion, and
                                                    dermal contact
                                                                                                               Case 2:18-cv-01849-BJR Document 1-2 Filed 12/21/18 Page 47 of 107




Figure from 2009 NIEHS L. Birnbaum presentation

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 1            5.104 As shown in the history below, the Sky Valley Education Center was
 2   contaminated with Monsanto’s PCBs. This fact was publicly revealed in 2016 following
 3   environmental testing done in response to severely sickened and diseased teachers and
 4   over one hundred Sky Valley individuals reporting to the Snohomish Health District
 5   illnesses related to the school. The Defendants’ wrongdoing led to the PCB
 6   contamination and caused chronic toxic exposure to the Plaintiffs, causing them damages.
 7            5.105 “Monsanto’s PCB contamination constitutes injury to the State’s public
 8   natural resources and to other property and waters of the State [of Washington], for
 9   which the State seeks damages, including on behalf of itself and on behalf of its residents
10   in its parens patriae capacity.” State of Washington’s Complaint for Damages against
11   Monsanto, p. 5, ¶ 16, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
12   2016).
13      E.     The school buildings became toxic, injuring children and adults.
14            5.106 History of the school buildings. Starting in the 1950s, the school campus
15   located in Monroe at 351 Short Columbia Street, near Hill, Kelsey, and Sams Streets, was
16   known as Monroe Union High School or Monroe High School.
17            5.107 Today, the tax accessor records identify the property as belonging to Union
18   High School District 402:
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27            5.108 The following page is a true and correct copy of a page of this government
28   record, which is also attached as Exhibit S:


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 1         5.109 Other pages in the tax accessor’s file for this property reference Union High
 2   School District 402 as well as “School District 103,” including this excerpt dated April
 3   13, 1990:
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26   A “SITE SKETCH” of the campus shows school buildings built in 1950, 1963, 1965, and
27   1968. The site sketch is shown on the following page. The configuration of the school
28   buildings at the campus appears the same today:


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 1         5.110 This school is located in Monroe, Washington, within the inspection
 2   jurisdiction of the Snohomish Health District.
 3         5.111 According to its own statements, “[t]he Snohomish Health District inspects
 4   all schools (public and private) in order to verify compliance with minimal environmental
 5   standards for education facilities, as per WAC 246-366-040.” Health District “inspectors
 6   may check lighting, ventilation, and safety equipment.” The enforcement requirements
 7   are stated in Health District letters and Washington law. RCW 43.20.050(5).
 8         5.112 The facts of the following inspections—and the lack of annual inspections
 9   in recent decades—is based on Snohomish Health District’s responses to Public Records
10   Act requests.
11         5.113 From the late 1950s through 1990, the Snohomish Health District
12   conducted inspections of these school buildings on a roughly annual basis. During this
13   time, inspectors regularly cited Monroe School District for violating requirements for
14   minimum lighting intensities for these school buildings. Despite these citations,
15   apparently no penalties or enforcement actions were taken.
16         5.114 For example, a Snohomish Health District school inspection report, dated
17   1973, recorded code violations for ventilation, lighting, and safety for these school
18   buildings. The inspector wrote, “Lighting is substandard in a number of places in this
19   building as has been reported every year since the school was built.” Oct. 15, 1973
20   School Inspection report by Snohomish Health District, to Monroe #103, Monroe High
21   School (Bates stamped 000054) (emphasis in original).
22         5.115 Lighting continued to be substandard in subsequent decades. This is
23   significant because, years later, the same substandard lighting fixtures in these school
24   buildings exposed the Plaintiffs to PCBs and other toxic chemicals.
25         5.116 Around 1977, the usage of the school buildings changed from the High
26   School program to the Monroe Junior High.
27         5.117 Although Monroe Public Schools corrected some safety standard violations
28   over the years, other safety standard violations in the school buildings persisted. For


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 1   example, a letter dated 1980 from the Health District to Monroe School District reported
 2   complaints related to ventilation, sanitation and environmental conditions, and noted that,
 3   “with little exception, these problems have been noted on our inspection reports for the
 4   past several years. Because of the possible health and safety impact upon your students
 5   and staff, we feel it is important that substantial changes be made.” June 13, 1980
 6   Snohomish Health District letter to Monroe School District (Bates stamped 000080-81).
 7          5.118 The 1981 Health District inspection report for these school buildings cited
 8   deficiencies in areas related to ventilation and lighting, stating “lighting is poor in
 9   classrooms and restrooms in the pods [classrooms].” 1981 Health District inspection
10   report to Monroe School District (Bates stamped 000105-08).
11          5.119 The 1982, 1984, and 1985 inspection reports noted similar deficiencies. For
12   example, the 1984 report stated, “As we have pointed out for several years now, pod
13   classroom lighting is poor.” 1984 Health District inspection report to Monroe School
14   District (Bates stamped 000118-24).
15          5.120 Around 1987, the usage of the school buildings changed from being the
16   Monroe Junior High to the Monroe Middle School.
17          5.121 In the 1990s, the Health District only conducted safety inspections in 1990
18   and 1996. (In 1999, there was a complaint investigation report—not an inspection
19   report—regarding poor kitchen ventilation.) There were no Health District inspections of
20   the school buildings in 1991, 1992, 1993, 1994, or 1995. In the 1996 inspection report,
21   the Health District again cited Monroe School District for ventilation and lighting code
22   violations in these school buildings.
23          5.122 The Health District did not conduct a regular inspection of these school
24   buildings in 1997, 1998, 1999, 2000, 2001, 2002, 2003, or 2004.
25          5.123 By the year 2000, the School District knew that its school buildings built
26   before 1980 may contain PCB-light ballasts. A “LIGHTING AND BALLAST
27   DISPOSAL PROCEDURES” policy was established. It required inspection of all light
28   ballasts during the summer of 2000. See ¶ 3. PCB-light ballasts must then be marked for


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 1   identification. Id. Then “All ballasts that are assumed to contain PCBs must be
 2   disposed of as hazardous waste.” Id. at ¶ 4 (emphasis added).
 3          5.124 The School District and the Health District should have ensured the
 4   removal and remediation of PCBs and other toxic chemicals from the school. The public
 5   entity Defendants were negligent in not doing so, which was a proximate cause of
 6   Plaintiffs’ damages.
 7          5.125 The Health District should have enforced the minimum environmental
 8   safety standards relating to lighting intensities. If the Health District had done so since
 9   1980, the new light fixtures would have been PCB-free. The Health District’s lack of
10   action, particularly in light of its actual knowledge of decades of safety code violations,
11   was negligent and a proximate cause of Plaintiffs’ damages.
12          5.126 The 2003 “Health and Safety Guide” by the State Department of Health and
13   Superintendent of Public Instruction specifically recognized the existence of PCBs in
14   school buildings:
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23   Office of Superintendent of Public Instruction and Department of Health. OSPI-DOH
24   School Health and Safety Guide, January 2003, p. 26.
25          5.127 The negligence of the public entity Defendants allowed PCBs to remain in
26   the school buildings, which was a proximate cause of PCBs remaining in the old Monroe
27   Middle School, later known as Sky Valley Education Center, which contaminated the
28   school and chronically poisoned children and adults, including the Plaintiffs.


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 1         5.128 It may be that the public entity Defendants were not fully aware of the
 2   dangers of PCBs due to a lack of warnings from Monsanto. Monsanto’s statements
 3   regarding PCBs have historically minimized the risk of PCBs to human health. Such
 4   statements may have deceived, misled, or lulled the public entity Defendants into inaction
 5   regarding the removal of PCBs from school buildings.
 6         5.129 The 2003 State policy also required minimum light intensities in school
 7   buildings. Here is excerpt from that policy requiring minimum lighting:
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21         5.130 If the minimum lighting requirements had been enforced by the School
22   District or the Health District at any time since 1980, they would have uninstalled the
23   PCB-light ballasts at the school and installed code compliant, non-PCB light ballasts.
24   This would have prevented or minimized much of the PCB contamination and subsequent
25   toxic poisoning of the Plaintiffs. Because the public entity Defendants did not do this,
26   however, the Plaintiffs were chronically exposed to toxic contamination. The public
27   entity Defendants’ negligence was a proximate cause of Plaintiffs’ damages.
28         5.131 In the 2000s, the Health District only conducted safety inspections of these


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 1   school buildings in 2005, 2007, and 2009.
 2          5.132 In the 2005 inspection letter and report, the Health District stated, as usual,
 3   that its “inspectors may check lighting, ventilation, and safety equipment” to “verify
 4   compliance with minimal environmental standards for educational facilities, as per WAC
 5   246-366-040.” The Health District cited Monroe School District for ventilation and
 6   lighting standard violations, but again failed to enforce compliance. 2005 Health District
 7   letter and inspection report to Monroe School District (Bates stamped 000146-51).
 8          5.133 For CO2 concentration limits, ASHRAE Standard 62-2001 recommends no
 9   more than 700 ppm above the outdoor concentration as the upper limit for occupied
10   classrooms, which is usually around 1,000 ppm. Carbon dioxide is an asphyxiate that,
11   when measured, serves as a proxy for the quality of ventilation in occupied classrooms.
12          5.134 The 2005 inspection report was the first Health District report to measure
13   and record carbon dioxide air quality violations at the school buildings. The report
14   recorded 25 readings in 25 separate classrooms at these school buildings that exceeded
15   1,000 ppm of carbon dioxide. Six readings were above 1,500 ppm. Four readings were
16   above 2,000 ppm. Two readings were above 3,000 ppm. Id. at 149.
17          5.135 As in past years, however, the Health District did not enforce compliance
18   with the minimal environmental standards for the school.
19          5.136 In 2005, the State compared sensitive or vulnerable individuals like
20   children to “canaries in the coal mine.” The introduction is reprinted on the next page:
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22   Wash. State Department of Health, Office of Environmental Health & Safety.
23   Responding to Indoor Air Quality Concerns in our Schools. June 2005, p. 5, available at
24   https://www.doh.wa.gov/CommunityandEnvironment/Schools/EnvironmentalHealth (last
25   visited November 15, 2017).
26         5.137 In 2006, the Health District did not conduct an inspection of the school.
27         5.138 In 2007, the Health District inspected the school and noted “there were
28   several items noted during this safety inspection that appear not to have been addressed


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 1   since the last inspection conducted in 2005.” 2007 Health District letter and inspection
 2   report to Monroe Public Schools (Bates stamped 000153-59) (emphasis added). This
 3   included ventilation violations as well as more than a dozen CO2 measurements in
 4   different classrooms that exceeded 1,000 ppm, with five measurements that exceeded
 5   1,500 ppm. Id. at 154, 156-57. The Health District also cited the School District for
 6   violating minimum light intensity standards in the Music rooms, the Library, and a half-
 7   dozen classrooms. Id. at 153, 155.
 8         5.139 In 2007, the Health District did not enforce compliance with the minimal
 9   environmental standards for the school buildings.
10         5.140 In 2007, the School District received its State Study and Survey by an
11   architecture firm, Hutteball & Oremus, regarding the District’s public educational
12   facilities. The study reported to the School District that the school buildings, then known
13   as the Monroe Middle School, have safety issues. The Monroe Middle School “is
14   deteriorating at a rate which exceeds that of normal maintenance efforts and funding.”
15   2007 Hutteball & Oremus State Study and Survey for Monroe School District, p. 219.
16   “The level of deterioration at this facility is the most severe of any school within the
17   District.” Id. at Executive Summary. The study recommended demolishing the existing
18   classrooms and library. Id. at 19. “None of the existing HVAC equipment is in
19   compliance with current codes.” Id. at 69. The study reported that the lighting was
20   deficient, and recommended that the lighting system be upgraded and replaced
21   throughout the facility. Id. at 70, 18. Hazardous material existed in the school buildings:
22   “The campus is reported to contain friable asbestos containing material such as pipe
23   insulation and non-friable vinyl asbestos floor tile. The Classroom/Library building
24   contains insulated asbestos panels at the window areas.” Id. at 11. The study did not
25   mention PCBs, but recommended a hazardous material survey by an independent
26   consultant in conjunction with planning of future modernization, additions, or
27   replacements. Id. The study stated that “the Monroe Middle School is in need of
28   immediate renovation and upgrades… Existing life safety issues, energy inefficiencies,


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 1   and code issues will continue to exist until significant action is taken to correct these
 2   deficiencies.” Id. at Summary, 25 (emphasis added).
 3          5.141 The School District did not follow these recommendations in 2007, but
 4   instead continued to use the school buildings in their condition for several more years.
 5          5.142 In 2008, the Health District did not conduct an inspection of these school
 6   buildings.
 7          5.143 In 2009, the Health District inspected the school buildings and noted “there
 8   were several items noted during this safety inspection that appear not to have been
 9   addressed since the last inspection conducted in 2007.” 2009 Health District letter and
10   inspection report to Monroe School District (Bates stamped 000254-62) (emphasis
11   added). The repeated violations included safety standards relating to ventilation, lighting,
12   and air quality, including roughly a dozen rooms where CO2 levels exceeded 1,000 ppm.
13   Id. at 254-61.
14          5.144 Again, the Health District did not enforce compliance with the minimal
15   environmental safety requirements for these school buildings.
16          5.145 In 2010, the Health District did not conduct an inspection of these school
17   buildings. The Health District also did not enforce compliance.
18          5.146 In May of 2011, the Health District inspected the school buildings and
19   noted “there were several items noted during this safety inspection that appear not to
20   have been addressed since the last inspection conducted in 2009.” 2011 Health District
21   letter and inspection report to Monroe School District (Bates stamped 000270) (emphasis
22   added). Repeated violations included safety standards relating to ventilation and lighting.
23   Id. at 266-70. This report did not measure and record CO2 levels.
24          5.147 But the Health District did not enforce compliance with the minimal
25   environmental safety requirements for these school buildings.
26          5.148 If the Health District or the State had enforced compliance with minimum
27   lighting safety requirements in 2011, then the School District would have uninstalled the
28   toxic PCB-light ballasts at the school buildings and installed code compliant, non-PCB


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 1   light ballasts. This would have reduced the PCB contamination and subsequent PCB
 2   poisoning of the Plaintiffs. But the Health District and the State did not enforce
 3   compliance. That was negligent and a proximate cause of Plaintiffs’ damages.
 4          5.149 Following the spring of 2011, the School District removed the middle
 5   school program from the school buildings.
 6          5.150 The School District chose to move an education program called Sky
 7   Valley Education Center into the school buildings.
 8          5.151 Sky Valley Education Center was and is an alternative kindergarten
 9   through twelfth grade education program. The School District’s parent partnership
10   program required parents to be in school with their children under the age of 12 as a
11   condition of being enrolled in the Sky Valley program. As a result, many parents spent
12   time with their children in the classrooms. Many mothers were also pregnant or had
13   infants with them at school.
14          5.152 In the summer of 2011, the School District did not conduct a hazardous
15   material survey of the old Monroe Middle School. The School District also failed to
16   conduct any hazardous material abatement or renovation work of the school buildings.
17          5.153 The Monroe School District administered the Sky Valley Education
18   program at this location, starting in September of 2011, while the Union High School
19   District owned the premises.
20          5.154 In the 2010s, the Health District only conducted safety inspections of these
21   school buildings in 2011, 2013, and 2016.
22          5.155 In December of 2011, the Health District inspected Sky Valley Education
23   Center, now occupying the site of the old Monroe Middle School buildings. As in past
24   years, the Health District cited the Monroe School District for violations of primary and
25   secondary school safety requirements, WAC 246-366. Jan. 2011 Health District letter and
26   report to the Monroe School District (Bates stamped 000273-79). The Health District
27   cited the School District for violations of ventilation and lighting intensity requirements.
28          5.156 In 2011, the Health District did not enforce compliance with minimal


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 1   environmental safety requirements for these school buildings.
 2         5.157 In 2012, the Health District did not conduct an inspection of these school
 3   buildings. The Health District also did not enforce compliance.
 4         5.158 In 2013, the Health District inspected Sky Valley Education Center. As in
 5   past years, the Health District cited the School District for violations of primary and
 6   secondary school safety requirements, WAC 246-366, including lighting intensity and
 7   ventilation requirements. 2013 Health District letter and report to the School District
 8   (Bates stamped 000283-87). The carbon dioxide levels in four classrooms was measured
 9   and exceeded 1,000 ppm. Id. at 283.
10         5.159 In 2013, the Health District did not enforce compliance with minimal
11   environmental requirements for these school buildings.
12         5.160 In 2014, the Health District did not conduct an inspection of these school
13   buildings. The Health District also did not enforce compliance.
14         5.161 From 2011 through 2016, the school buildings continued to have PCB-
15   caulking and PCB-light ballasts, some of which failed over time and leaked PCBs and
16   pyrolyzed PCB byproducts such as dioxins and furans within the school.
17         5.162 It is unknown exactly how many PCB-light ballasts failed, fumed, leaked,
18   or smoked PCBs or PCB byproducts (dioxins and furans) into Sky Valley classrooms
19   between 2011 and 2016. According to a 2014 Monroe School District memorandum,
20   however, by that time it appears that more than 100 light ballasts had failed, resulting in
21   “Fixtures requiring maintenance cleaning.” See MSDG_014266.
22         5.163 From 2011 through 2016, the School District does not appear to have
23   conducted any environmental testing regarding the various levels of PCBs, dioxins, or
24   furans in the school buildings during PCB-light ballast failure events or in their
25   immediate aftermath.
26         5.164 Students and teachers witnessed different PCB-light ballast failures in
27   different classrooms. The failing PCB-light ballasts burned, fumed, or smoked vapors
28   into the classrooms. Some failing PCB-light ballasts also dripped PCB fluids onto the


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 1   desks and carpets. The Monroe School District’s solution for one such PCB leak was to
 2   put a bucket under the leaking ballast, which collected a puddle of PCB fluid. This open
 3   collection of PCB fluids was done while children used the classroom. The bucket was left
 4   in place for several days. The PCB-stained carpet was left in place even longer.
 5          5.165 One Sky Valley teacher recorded some PCB-light ballast failures and
 6   probable failures during this time period. For example, in April 2014 a “ballast in Nona’s
 7   room caught fire and we could smell the smoke in rooms A, C and D and the hallways.”
 8   Another ballast failed and created “a bad smell” the following week. Some teachers
 9   began researching the issue, inspecting overhead lights in the rooms, and reporting their
10   concerns to the Monroe School District. Here is one photo (taken by a teacher during that
11   time) of stained light fixture housing, along with the teacher’s notes:
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 1          5.166 In response to other light ballast failures, the Monroe School District
 2   maintenance department staff often put the stained light fixture housing materials (along
 3   with cleaning rags) in hallways or leaning against classroom walls. Some such housing
 4   materials were left in common areas for weeks.
 5          5.167 In 2014, at least three Sky Valley teachers submitted indoor air quality
 6   reports for classrooms, reporting symptoms of acute headaches, sinus issues, burning
 7   eyes, “pressure” in the head,” sneezing, and neck pain. Nov. 14, 2014 SVEC Preliminary
 8   Indoor Air Quality Assessment, East Pod, by EHSI, p. 2.
 9          5.168 The Monroe School District knew that the Sky Valley Education Center
10   classrooms and common areas contained PCB-light ballasts. The Monroe School District
11   also knew that the PCB-ballasts would fail and make “a very nasty smell filling a
12   classroom.” The Sky Valley principal acknowledged this to the Sky Valley staff,
13   although the principal assured staff that the building is “safe.” Here is part of the Sky
14   Valley principal’s message to staff in April of 2014:
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 1          5.169 The Sky Valley principal told parents that they should not complain about
 2   the condition of the school buildings or else they could lose their program. Instead, the
 3   principal said that parents should be grateful to have the campus.
 4   5.170 In response to complaints in 2014 by some teachers, however, the Monroe School
 5   District maintenance department conducted some inspections and drew some maps of the
 6   school building ceilings and light fixtures. Some maps are attached to this complaint as
 7   Exhibit T. Different areas of the school buildings are depicted as showing PCB-light
 8   ballast leaks. Here is a portion of one of the maps (a later draft version of
 9   MSDG_014453), looking up at the ceiling of the south pod:
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 1          5.171 In October of 2014, the Monroe School District director of facilities and
 2   operations recorded carbon dioxide levels of 1,700 ppm in one classroom. EHSI 2014
 3   Report. In November of 2014, roughly ten measurements of classroom areas showed
 4   CO2 above 1,000 ppm. Id. at 7. An independent contractor, EHS-International, Inc.,
 5   concluded that “there is not a mold problem in the classrooms assessed,” and stated that
 6   “the reported symptoms which include headaches, sinus issues and sneezing are more
 7   likely related to under-ventilation of the spaces as indicated by indoor carbon dioxide
 8   concentrations that exceed 1,000 parts per million (ppm) during classroom sessions.” Id.
 9   at 1. Although “carbon dioxide is considered a surrogate for other airborne
10   contaminants,” neither the School District nor EHSI appear to have measured the
11   concentrations of PCBs or other toxins in the classrooms at this time. Id. at 12.
12          5.172 In response to one student’s complaints of headaches, the Health District
13   conducted a field investigation and found that classroom “airflow was low (CO2 high).”
14   Jan. 2015 Health District Field Investigation Report (Bates No. 000289).
15          5.173 Apart from that field investigation, the Health District conducted no
16   regular, comprehensive inspection of the school buildings in 2015.
17          5.174 Despite the Health District’s lack of inspections in the fall of 2015, the
18   Health District had actual knowledge that Sky Valley teachers reported being sickened by
19   the school.
20          5.175 In the fall of 2015, one Sky Valley teacher was taken away from the
21   school buildings by ambulance due to neurological symptoms. She later resigned due to
22   illnesses she attributed to the school buildings. The substitute teacher who took her place
23   began having neurological symptoms in the weeks that followed, including a seizure,
24   until he also resigned within three to four months of assuming the post. Many other
25   teachers developed diseases like thyroid disorders, Hashimoto’s Disease, and cancers.
26   Roughly a dozen, if not more, teachers resigned from working in these school buildings.
27   Later, roughly a dozen teachers also filed a union grievance against the Monroe School
28   District for the toxic contamination in the school buildings. Children and parents in these


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 1   classrooms also developed concerning symptoms and diseases, as outlined below.
 2           5.176 Because the cafeteria “gathering area” was too small to accommodate
 3   everyone for mealtimes, children and adults regularly ate lunches and snacks in their
 4   classrooms.
 5           5.177 By the end of 2015, if not earlier, the Health District had actual knowledge
 6   that the school buildings contained PCB spills and PCB-containing materials.
 7           5.178 Despite this knowledge, and upon request by the Monroe School District,
 8   in 2015 the Health District canceled the regular inspection of the school buildings. The
 9   Health District canceled the inspection scheduled for September of 2015, and instead
10   rescheduled it to December of 2015. Upon request by the School District, however, the
11   Health District also canceled the inspection scheduled for December of 2015. The Health
12   District delayed the inspection until January of 2016.
13           5.179 As in 2014 and previous years, the Health District did not enforce
14   compliance with the minimum environmental safety requirements for these buildings in
15   2015.
16           5.180 During 2015 and 2016, the Health District received and compiled
17   complaints about illnesses associated with the buildings.
18           5.181 But Health District staff told complaining Sky Valley families and teachers
19   that the Health District would not take any enforcement action against the School District
20   unless eventually many people became sick.
21           5.182 Between March of 2013 and January of 2016, the Health District
22   conducted no regular inspection and issued no regular inspection report to the Monroe
23   School District regarding these school buildings.
24           5.183 In December of 2015 and January of 2016, the Monroe School District
25   contracted with environmental engineers to conduct indoor air quality samples, which
26   were then analyzed in a laboratory for PCB content. Some air samples were taken while
27   classes were in session. Apparently unbeknownst to the environmental engineers, this air
28   quality sampling of indoor classroom air was done with exterior windows and doors wide


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 1   open, rendering the results invalid. During the testing, teachers and students wore their
 2   winter coats in the classrooms. Other air samples were apparently taken over the holiday
 3   break when classroom air temperatures were low. One State (Department of Health)
 4   official emailed other officials, questioning the validity of these results:
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 9   See Snohomish Health District Response to Public Record Requests, Bates No. 000379.
10          5.184 By December of 2015, the Health District and the State Department of
11   Health received reports that “multiple teachers have adverse health issues including
12   dizziness, nausea and headaches,” and that the school buildings contained both live and
13   failed PCB light ballasts, according to a timeline created by Health District investigator
14   Amanda Zych:
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24   See Snohomish Health District Response to Public Record Requests, Bates No. 000468.
25          5.185 By this time, if not earlier, the Health District was aware of reports of
26   sickened children (“endocrine or hormonal issues”) in addition to the “multiple teachers
27   with adverse health issues,” according to inspector Zych’s chronology:
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 5   See Snohomish Health District Response to Public Record Requests, Bates No. 000467.
 6          5.186    Meanwhile, the Health District received report of multiple teachers who
 7   were “out on medical leave”:
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11   Id.
12          5.187 Despite this knowledge, no public entity Defendant conducted a health
13   impact assessment on the Sky Valley population. Instead, the public entity Defendants
14   kept the school open and in use.
15          5.188 In January of 2016, the Health District conducted an inspection and issued
16   a report to the Monroe School District. As in previous years, the Health District cited the
17   School District for numerous violations of WAC 246-366, including roughly twenty
18   violations of minimum lighting intensity safety requirements as well as violations of
19   ventilation standards.
20          5.189 The Health District report to the School District did not mention PCBs,
21   PCB spills, or the sicknesses of Sky Valley teachers, parents, and children.
22          5.190 Meanwhile, the public entity Defendants learned that, in addition to the
23   PCB contamination, the school buildings were contaminated with metals (including lead)
24   in the school drinking water, radon in the indoor air, disturbed asbestos fibers, and molds,
25   including black mold.
26          5.191 By March, Health District inspector Zych noted a report that people had
27   been ill from the school buildings for years, back when the campus was the Monroe
28   Middle School. Separately, the Everett Herald newspaper published the fact that the


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 1   School District “received eight complaints about illnesses potentially linked to air quality
 2   from 2001 to 2015.” See Snohomish Health District Response to Public Record Requests
 3   at Bates No. 000465. The March complainant to the Health District reported that “70
 4   people are known to be ill from Sky Valley. More don’t want to be added to the list for
 5   fear of repercussions… People are very scared to report symptoms and join group.” Id. at
 6   Bates No. 000475. This number grew in the coming months.
 7          5.192 A Monroe School District administrator, John Mannix, dismissed these
 8   parental and teacher concerns at a community meeting, stating that “If only 10% of the
 9   population ever reacted to the environment, that would be normal.” See Snohomish
10   Health District Response to Public Record Requests, Bates No. 000474. Mannix also
11   reportedly stated that the reported illnesses could not be caused by the disturbed asbestos
12   fibers in the school buildings, because lung diseases caused by asbestos fiber exposure do
13   not appear until decades after exposure.
14          5.193 Meanwhile, Health District inspector Zych reported to her colleagues
15   regarding a dozen known cases of Sky Valley children experiencing “precocious
16   puberty,” which is a pathological early-onset of puberty caused by hormonal or endocrine
17   disruptions. Id. at Bates No. 000585.
18          5.194 By April, Health District inspector Zych updated her chronology to reflect
19   additional information, including notes on an environmental report on the buildings:
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24   Id. at 000592.
25          5.195 Health District inspector Zych created a spreadsheet of some symptoms
26   and diseases of 63 Sky Valley complainants who had come forward to report adverse
27   medical affects. The Health District spreadsheet is attached as Exhibit U (Bates No.
28   000593-96).


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 1         5.196 Despite this knowledge, the public entity Defendants kept the school open
 2   and in use.
 3         5.197 The Monroe School District’s environmental contractors created a map
 4   entitled “PCB Light Fixture Cleaning,” in which red dots showed the light fixtures
 5   throughout the school buildings. It is attached as Exhibit V along with a map showing
 6   School District remediation activities in the spring of 2016.
 7         5.198 The school building maps show the room names and the rooms’ PCB light
 8   fixtures—the red dots—that needed cleaning. Here was the Music Room and its red dots:
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13         5.199 Here was the Gathering Area, where children and adults ate and socialized:

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27         5.200 Here was Building 2, Annex, which housed classrooms A, B, C, D, and F,
28   marked with the red dots in the classrooms, along with Building 1, the Office:


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           5.201 Here were the numerous PCB light fixtures that needed cleaning in
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     Building 5, where the Plaintiff teachers taught and prepared lessons. Here is the map of
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     that building, the Library and the pod classrooms 1-20. Note the frequency of red dots:
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 1          5.202 By the end of April of 2016, 81 individuals had come forward to report to
 2   Health District inspector Zych regarding their diseases and symptoms they associated
 3   with Sky Valley Education Center:
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19   See Snohomish Health District Response to Public Record Requests, Bates No. 000633.
20          5.203 The Health District sent at least two letters in June to the School District
21   regarding elevated PCB levels, the closure of some classrooms, and required summertime
22   remediation of the buildings. See Exhibits W1 and W2. The Health District letters cited
23   WAC 246-366-140, stating “the existence of unsafe conditions which present a potential
24   hazard to occupants of the school are in violation of these regulations.” Id. By the end of
25   June, the Health District was aware of “over 100 parents, teachers and children [who]
26   have reported illness that they associate with the building.” Id. at W2.
27          5.204 Apart from a closed classroom or two, Sky Valley Education Center
28   remained open through June of 2016.


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 1         5.205 Another name for PCB-light ballasts is “T-12 lights.” Here is a map of
 2   affected classrooms at the Sky Valley school:
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21   See Monroe School District’s Response to Public Records Requests, Bates No.
22   MSDG_014499.
23         5.206 Before the 2016 school year was over, the Monroe School District had
24   disposed of at least 1,648 pounds of PCB-light ballasts:
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28   See MSDG_014240-41 (hazardous waste disposal manifest).


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 1             5.207 Around this same time, the Monroe School District appeared to have
 2   possessed a PowerPoint regarding the dangers of PCB-light ballasts. Here are two of the
 3   slides:
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22   See MSDG_014128, 014135. As shown earlier in this Complaint, the list of these adverse
23   health effects due to PCB exposure is not complete.
24             5.208 The Monroe School District’s environmental consultants conducted a litany
25   of air, wipe, and caulking sample tests for PCBs between January and June of 2016.
26   Results varied at different locations and different times within the school buildings, with
27   some results as “none detected,” other results characterized as being “low” or “safe” by
28   the public entity Defendants, and with other results recognized as being “high.” Many


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 1   wipe samples appear to have been taken after deep cleaning. Despite the cleaning efforts,
 2   PCB test results in May of 2016 were among the more elevated levels of PCBs detected.
 3          5.209 By the spring of 2016, some families had unenrolled from Sky Valley due
 4   to the adverse medical effects that they associated with the school buildings. Other
 5   families stayed enrolled until June of 2016, having been either unaware of the reports and
 6   tests of environmental contamination, or having been assured by the Monroe School
 7   District that the school buildings were safe.
 8          5.210 After some remediation in the summer of 2016, the Monroe School
 9   District resumed Sky Valley classes in September.
10          5.211 Some families attempted to return to Sky Valley in the fall, but unenrolled
11   after re-experiencing adverse medical symptoms that they previously experienced in the
12   school buildings. With the knowledge that the school buildings had been contaminated
13   with toxic chemicals, these families unenrolled. Their spots were then filled by other
14   families on the waitlist for the school program (Sky Valley is a popular program), while
15   the Monroe School District assured the public that the school buildings were safe.
16          5.212 The Health District and School District had knowledge that this was
17   happening, as shown in this fall 2016 email by inspector Zych to school administrators:
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 1   See Snohomish Health District Response to Public Record Requests, Bates No. 001398;
 2   see also Bates No. 001820 (Sky Valley parent emailing Zych that “Hope to hear
 3   something will change for our kids and families. We do love this program. As so many
 4   that cry that they still feel sick when they come near the building so cannot come [sic].”).
 5          5.213 Decades of PCB off-gassing, leaks, spills, and fume events, however,
 6   caused these school buildings to become secondarily contaminated as large toxic “sinks.”
 7   That is, porous materials like library books, papers, bricks, and carpets absorbed the
 8   PCBs over the years and now release PCBs back into the indoor air. People who have
 9   been sensitized to PCB contamination after suffering PCB/PCDD/PCDF poisoning still
10   cannot enter or use these school buildings without suffering uncomfortable, painful, or
11   debilitating reactions, despite the purported abatement or sealing of the primary sources
12   of PCBs (the PCB-caulking and the PCB-light ballasts) by the summer of 2016.
13          5.214 Environmental tests during the 2016-2017 school year continued to detect
14   levels of PCBs in the air and classrooms of these school buildings to varying degrees,
15   although many results showed “none detected” at the reporting limits. (There is a limit to
16   the sensitivity of the air sampling and laboratory testing.)
17          5.215 As before, at least some environmental tests were conducted with the
18   classroom windows “wide open,” as reported to Health District inspector Zych:
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26   See Snohomish Health District Response to Public Record Requests, Bates No. 001517.
27          5.216 According to the Health District, “Seven of the rooms that were tested
28   during the PCB air sampling indicated levels in excess of established exposure limits.”


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 1   Id. at 001524.
 2          5.217 The Monroe School District went to the press to claim that such year-2017
 3   PCB results were “false positives.” Superintendent Smith made this claim to reporters.
 4   She also claimed that any past symptoms reported by members of the Sky Valley
 5   Education community were minor and like “colds.” This was not true. She knew this
 6   statement was not true because parents and teachers had previously reported to her
 7   serious illnesses and diseases, including sexual developmental disorders in young
 8   children after they began attending classes in the school buildings.
 9          5.218 The services of the environmental consultant were terminated.
10          5.219 Subsequent PCB testing results appeared to be lower (or “none detected”)
11   than the pre-remediation testing results.
12          5.220 Until last year, when the PCB and other toxic contamination became
13   public, the School District kept the Sky Valley staff, parents, and children in the dark
14   about the actual toxic contamination in the school buildings.
15          5.221 Two out of three STEM teachers at the program have reportedly had
16   cancer since 2011. Three young parents of STEM students have died of cancer. Two
17   children have reportedly died of cancer. Other children and adults who spent time in the
18   school buildings have also suffered cancers, endocrine disorders, autoimmune disorders,
19   neurological disorders, and miscarriages.
20          5.222 Since the Monroe School District moved the Sky Valley Education
21   program into the old Monroe Middle School in 2011, many but perhaps not all children
22   and adults who spent time in the school buildings developed symptoms. The symptoms
23   varied in their type and intensity. They included eye irritation, vision difficulties, frequent
24   colds and infections, throat irritation, nose bleeds, allergies, asthma, persistent coughs,
25   difficulty breathing, heart palpitations, headaches, tremors, numbness, tingling,
26   confusion, memory loss, concentration difficulties, depression, anxiety, learning
27   problems, dizziness, nausea, vomiting, abdominal pain, gastrointestinal issues, joint pain,
28   thyroid issues, puberty abnormalities, weight issues, weakness, fatigue, chills, night


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 1   sweats, skin rashes or hives or blisters, skin cysts, peeling skin, and other complaints.
 2          5.223 The frequency and severity of the symptoms appeared to be positively
 3   correlated with the vulnerability of the individual and the amount of time spent in the
 4   school buildings. The symptoms and diseases worsened over time for these individuals.
 5          5.224 Symptom severity generally improved during holiday breaks, when the
 6   children and adults spent time away from the school buildings.
 7          5.225 At different times during the past few years, some Sky Valley parents and
 8   teachers raised serious health concerns associated with the school buildings to the
 9   Monroe School District and the Health District. Until early or mid-2016, the public entity
10   Defendants did not appear to take the concerns seriously.
11          5.226 For example, in 2014 the Monroe School District head of maintenance,
12   Ralph Yingling, told two teachers that they should not be concerned about the PCB-light
13   ballasts. He added that he was in Vietnam and exposed to Agent Orange, and PCB-light
14   ballasts are nothing to worry about in comparison.
15          5.227 Administrators for the School District promised some teachers that all
16   PCB-light ballasts would be removed and replaced with safe light fixtures during the
17   summer of 2014. This clearly was not done.
18          5.228 Another School District administrator ridiculed parents of “sick children”
19   as not being interested in going to school.
20          5.229 The Monroe School District, or its Sky Valley principal, actively
21   discouraged Sky Valley teachers from sharing environmental safety concerns with Sky
22   Valley families.
23          5.230 The Monroe School District, or its Sky Valley principal, also actively
24   discouraged parents from filing indoor air quality complaints with the School District.
25          5.231 The Sky Valley principal also admonished one teacher for cancelling
26   classes due to her concerns about safety in her classroom.
27          5.232 That same teacher developed Hashimoto’s Disease (a thyroid disorder)
28   after teaching in that classroom.


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 1          5.233 Some people who spent time in these school buildings cope with skin
 2   issues. Unlike headaches, gastro-intestinal pain, or other internal maladies, skin disorders
 3   can be photographed. Here are photographs of children, parents, and teachers showing
 4   skin sloughing, blisters, rashes, pigmentation changes, a neurological disorder, and a cyst:
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28   These photos (above) show blisters and sloughing skin in Sky Valley adults and children.


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28   Here are skin pigmentation changes in a Sky Valley adult and a child (above and below):


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 1   Here is chloracne on the back of a Sky Valley parent:
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14   Sky Valley children and adults also cope with hives, rashes, and acne. Here are photos of

15   full body hives (above) and acne and rashes (below) in Sky Valley children:
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28   This is the first cyst (of a cluster) removed from a Sky Valley girl’s scalp this past year.


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 1   The photographs above are of about a dozen different Sky Valley individuals who
 2   developed skin, neurological, and other disorders as part of the constellation of symptoms
 3   they attribute to time spent in the school buildings before the School District remediated
 4   the buildings. Other photographs of children and adults in the hospital, whether due to
 5   encephalitis, cardiac problems, breathing problems, and neurological disorders—all of
 6   which have happened to Sky Valley children and adults—are not included. Plaintiffs will
 7   request entry of a protective order regarding Plaintiffs’ medical records, identifiable
 8   photographs, and related personal information.
 9          5.234 The Health District’s history of citing Monroe Public Schools for code and
10   safety deficiencies at these school buildings establishes two basic facts: (1) the school has
11   had a history since the 1950s of poor maintenance and safety compliance up to present-
12   day; and (2) Snohomish Health District knew that these school buildings suffered from
13   poor maintenance and non-compliance with safety requirements, particularly in areas of
14   ventilation and lighting.
15          5.235 Despite this knowledge, the School District did not enforce compliance
16   with the minimum safety requirements at these school buildings. That was negligent and
17   a proximate cause of Plaintiffs’ damages.
18          5.236 Despite this knowledge, the Snohomish Health District did not enforce
19   “compliance with minimal environmental standards for education facilities, as per WAC
20   246-366-040,” which was the purpose of the Health District’s inspections, until late last
21   year. That was negligent and a proximate cause of Plaintiffs’ damages.
22          5.237 The State Departments of Ecology and Health both recognized that PCBs
23   “can cause adverse health effects in humans and wildlife including cancer and harm to
24   immune, nervous, and reproductive systems. PCBs disrupt thyroid hormone levels in
25   animals and humans, hindering growth and development.” State of Wash. Department of
26   Ecology and Department of Health. PCB Chemical Action Plan (Feb. 2015), p. 12,
27   available at https://fortress.wa.gov/ecy/publications/SummaryPages/1507010.html, (last
28   accessed November 14, 2017).


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 1          5.238 These departments of the State have also been aware that toxic PCBs
 2   persist in school buildings built before 1979, and are aware that this represents a danger
 3   to the occupants of the buildings: “We are especially concerned about exposure to
 4   children in school buildings with old lamp ballasts and other PCB-containing building
 5   materials.” Id. at 12.
 6          5.239 The departments of the State know that old ballasts “are at a high risk for
 7   failing (dripping, smoking, and catching fire).” Id. at 15 (parenthetical explanation in
 8   original). The State recognized that the old ballasts release PCBs into the air breathed by
 9   children and other people in school buildings:
10          Ballast failures can expose children to concentrated PCB oils and elevated
            PCBs in air. Low concentrations of lower chlorinated PCB congeners are
11
            continually released from lamp ballasts. When ballasts fail, high
12          concentrations of a broader spectrum of congeners are released, so it is
            important to find and remove the lamp ballasts before they fail.
13   Id.
14          5.240 A reasonably careful governmental entity establishes and enforces policies
15   to remove toxic chemicals such as PCBs from school buildings to prevent toxic exposure
16   and to protect children, teachers, and parents from sickness, disease, and death.
17          5.241 A reasonably careful school owner removes toxic chemicals such as PCBs
18   to prevent toxic exposure and to protect children, teachers, and parents from sickness,
19   disease, and death.
20          5.242 A reasonably careful school inspector requires a building owner to comply
21   with the minimum environmental safety requirements to prevent injury and to protect
22   people from harm.
23          5.243 A reasonably careful school inspector requires a school owner to remove
24   toxic chemicals such as PCBs to prevent toxic exposure and to protect children, teachers,
25   and parents from sickness, disease, and death.
26          5.244 The public entity Defendants’ failures to protect the Plaintiffs from
27   reasonably foreseeable harms were negligent.
28          5.245 The public entity Defendants’ negligence in these and other ways was


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 1   reasonably foreseeable to Monsanto and does not serve to cut off the chain of causation
 2   of Plaintiffs’ damages.
 3           5.246 Specifically, the School District used Monsanto’s PCBs in a reasonably
 4   foreseeable manner, i.e. as components of caulking and light fixtures integral to the
 5   structures of the school buildings. The use of PCBs by the public entity Defendants was
 6   not so highly extraordinary as to be unforeseeable. In fact, the use of PCBs by these
 7   Defendants was consistent with Monsanto’s intended promotion of its PCBs, i.e., as
 8   components of caulking and light fixtures. In addition, the continued use of PCBs in
 9   school buildings is also reasonably foreseeable, as thousands of school buildings across
10   the United States continue to use and contain PCBs.
11           5.247 Due to the negligence of the public entity Defendants, however, the
12   Plaintiffs were exposed to PCBs and other toxic contamination. Their negligence was a
13   proximate cause of Plaintiffs’ damages.
14           5.248 Although the School District and the Plaintiffs “used” Monsanto’s PCBs
15   as components of the structures and fixtures of the school buildings, the Plaintiffs
16   themselves did not “misuse” Monsanto’s PCBs.
17           5.249 The public entity Defendants’ failures to require and supervise the removal
18   of PCBs from the school buildings was caused in part by Monsanto’s wrongful conduct.
19   This is because Monsanto intentionally misrepresented facts about its PCB products, or
20   intentionally concealed information about PCBs, and this wrongful conduct was a
21   proximate cause of Plaintiffs’ damages.
22           5.250 Specifically, Monsanto provided no warnings, notices, or bulletins to the
23   Snohomish Health District, the School District, or the Plaintiffs, which would have
24   alerted them to the full extent of the dangers of toxic PCB exposure in school buildings.
25   The reason is this: Monsanto profited for decades by producing and promoting PCBs, and
26   Monsanto continues to have a strong financial interest in denying the environmental
27   dangers and health hazards associated with toxic contamination caused by Monsanto’s
28   PCBs.


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 1              5.251 Due to the Defendants’ wrongful conduct, the Plaintiffs have suffered past
 2   damages and will suffer future damages. Damages includes reasonable fears of present
 3   and future adverse medical consequences. Wilson v. Key Tronic Corp., 40 Wn. App. 802,
 4   701 P.2d 518 (1985) (where defendant operated a toxic landfill that poisoned local well
 5   water, plaintiffs’ fears of present and future health problems stemming from actual
 6   ingestion of the toxic chemicals are reasonable and therefore compensable).
 7   VI.        LEGAL CONTEXT AND CAUSES OF ACTION
 8         A.     State law protects individual rights.
 9              6.1    Plaintiffs bring claims for damages against the named Defendants under state
10   law only for strict products liability, negligence, and exemplary damages, as outlined below,
11   and under other applicable state law remedies as discovery may reveal.
12              6.2    The Plaintiffs respectfully request that the guarantees of the Washington
13   State Constitution weigh in the consideration of legal rulings in this case. “All political
14   power is inherent in the people, and governments derive their just powers from the
15   consent of the governed, and are established to protect and maintain individual rights.”
16   Wash. Const., Art. I, § 1. The Washington Supreme Court recognizes “that the judiciary
17   has ample power to protect constitutional provisions that look to protection of personal
18   ‘guarantees,’” including “judicially enforceable affirmative duties of the State.” Seattle
19   School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 502, 585 P.2d 71 (1978). This
20   includes the “paramount duty on the State to make ample provision for the education” of
21   children. Id. Courts have “ample power” to protect such constitutional guarantees and
22   personal rights:
23              When it comes to considering individual rights such as are protected by the
                guaranties, that the right to trial by jury shall remain inviolate; that no
24
                person shall be deprived of life, liberty or property without due process of
25              law; that no law shall grant to any citizen or class of citizens privileges or
                immunities which upon the same terms shall not equally belong to all
26              citizens; and many other constitutional guaranties that look to protection of
27              personal rights, the courts have ample power, and will go to any length
                within the limits of judicial procedure, to protect such constitutional
28              guaranties.

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 1   Seattle School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 501, 585 P.2d 71 (1978)
 2   (holding in part that the school district, parents, and school children who were faced with
 3   deteriorating buildings and other shortfalls, had standing to sue the State for its violations
 4   of its paramount duty to make ample provision for the education of children), quoting
 5   Gottstein v. Lister, 88 Wash. 462, 493, 153 P. 595 (1915).
 6       B.     Plaintiffs are fault-free.
 7            6.3      Defendants cannot show that the Plaintiffs, who worked and taught in the
 8   school, are at-fault for the toxic contamination and chronic poisoning. The Plaintiffs are
 9   fault-free.
10        C.        Negligence claims are covered claims.
11            6.4      The claims against the public entities are for negligent provision,
12   establishment, maintenance, inspection, and enforcement of safety standards in the school,
13   which were legal causes of Plaintiffs’ damages. Stated differently, the public entity
14   Defendants negligently managed the safety of the school, which caused the Plaintiffs to
15   suffer damages. No “pollution exclusion” would apply to deny coverage, even if such an
16   exclusion exists in any policy of insurance in this case. Xia v. ProBuilders Specialty Insur.
17   Co., 188 Wn.2d 171, 393 P.3d 748 (2017).
18      D.     Defendants’ joint and several liabilities.
19            6.5      These claims relate to negligence and product liability for “hazardous
20   substances” that contaminated the school buildings and poisoned the Plaintiffs. As a result,
21   all Defendants are jointly and severally liable for all of Plaintiffs’ damages. RCW
22   4.22.070(3); Coulter v. Asten Group, Inc., 135 Wn. App. 613, 146 P.3d 444 (2006),
23   reconsideration denied, review denied, 161 Wn.2d 1011, 166 P.3d 1217.
24      E. Monsanto Defendants’ product liabilities to the Plaintiffs.
25            6.6      PCBs are a product. Monsanto’s PCBs are a “product” under Washington
26   law. RCW 7.72.010(3).
27            6.7      Strict product liability, not reasonably safe in construction (WPI
28   110.01). A manufacturer of a product is liable if its product was not reasonably safe in


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 1   construction and this was a proximate cause of plaintiff’s damages. 6 Wash. Prac., Wash.
 2   Pattern Jury Instr. Civ. WPI 110.01 (6th ed.). A product is not reasonably safe in
 3   construction when it is “unsafe to an extent beyond that which would be contemplated by
 4   the ordinary consumer.” Id., citing RCW 7.72.030(3). Monsanto’s PCBs are extremely
 5   toxic, and their toxicity was a proximate cause of Plaintiffs’ damages. The existence of
 6   Monsanto’s PCBs in the construction materials, caulking, and light ballasts of the school
 7   building was unsafe to an extent beyond that which was contemplated by the other
 8   Defendants, their employees, and the Plaintiffs who “used” the PCB-containing materials
 9   in the school buildings, which contaminated the buildings and caused PCB-poisoning in
10   the Plaintiffs and others. Monsanto is strictly liable for Plaintiffs’ damages.
11          6.8    Strict product liability, not reasonably safe as designed (WPI 110.02).
12   A manufacturer of a product is liable if its product was not reasonably safe as designed at
13   the time it left the manufacturer’s control and this was a proximate cause of plaintiff’s
14   damages. A product may be not reasonably safe as designed under either a balancing test
15   or a consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI
16   110.02 (6th ed.).
17          6.9    At the time Monsanto manufactured PCBs, there was a high likelihood that
18   the PCBs would cause injuries similar to that claimed by the Plaintiffs, and the
19   seriousness of the injuries is significant. This outweighed any “burden” on Monsanto to
20   design a product that would have prevented the injuries (i.e., alternative chemicals or
21   mechanisms used in caulking, light ballasts, and other applications, that are not
22   “extremely toxic”), and any adverse effect that a practical and feasible alternative design
23   would have on the usefulness of the product. Id. Monsanto is also liable under the
24   consumer expectations test, considering the following factors: the relative cost to the
25   School District of replacing the caulking, light ballast fixtures, and other materials later
26   discovered to be contaminated with Monsanto’s PCBs; the seriousness of harm caused by
27   exposure to PCBs is high; the cost to Monsanto of eliminating PCB production would
28   have eliminated PCB profits, while the feasibility of eliminating or minimizing the risk


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 1   was readily available to Monsanto; and other factors as may be revealed in discovery. Id.
 2         6.10   Monsanto’s PCBs were not reasonably safe as designed and this was a
 3   proximate cause of Plaintiffs’ injuries following exposure to Monsanto’s PCBs. This was
 4   reasonably foreseeable by Monsanto. In addition, any claimed “misuse” of toxic PCB-
 5   containing products by other Defendants, third parties, or even the Plaintiffs, was also
 6   reasonably foreseeable. Regardless, a product can be “not reasonably safe” even though
 7   the risk that it would cause the plaintiff’s harm or similar harms was not foreseeable by
 8   the manufacturer at the time the product left the manufacturer’s control. Id. (bracketed
 9   material). As designed, PCBs were not reasonably safe, and Monsanto is strictly liable for
10   Plaintiffs’ damages.
11         6.11   Liability for negligence, “Comment K” unavoidably unsafe products
12   (WPI 110.02.01). A chemical manufacturer has a duty to use reasonable care to design
13   chemicals that are reasonably safe. “Reasonable care” means the care that a reasonably
14   prudent chemical manufacturer would exercise in the same or similar circumstances. A
15   failure to use reasonable care is negligence. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ.
16   WPI 110.02.01 (6th ed.).
17         6.12   The question of whether a manufacturer exercised reasonable care is to be
18   determined by what the manufacturer knew or reasonably should have known at the time
19   of the plaintiff’s injury. In determining what a manufacturer reasonably should have
20   known in regard to designing its product, a jury should consider the following: a
21   chemical manufacturer has a duty to use reasonable care to test, analyze, and inspect the
22   product it sells, and is presumed to know what tests would have revealed; and a chemical
23   manufacturer has a duty to use reasonable care to keep abreast of scientific knowledge,
24   discoveries, advances, and research in the field, and is presumed to know what is
25   imparted thereby. Id.
26         6.13   From the first decade of manufacture, Monsanto knew that its PCBs were
27   toxic. The scientific research regarding the toxicity of PCBs increased over time. Despite
28   the actual and imparted knowledge of PCB toxicity, Monsanto continued producing


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 1   PCBs so Monsanto profited from their sales. Monsanto only stopped producing PCBs due
 2   to federal action banning their production. PCBs were never reasonably safe. They are
 3   toxic, durable, persistent, bioaccumulate, and are known to migrate from their source
 4   material to contaminate the surrounding environment. By their very nature as synthetic
 5   chemicals, PCBs were and are unavoidably unsafe products. Monsanto was negligent and
 6   is liable for Plaintiffs’ damages.
 7          6.14    Liability for failure to provide warnings when manufactured (WPI
 8   110.03). A manufacturer has a duty to supply products that are reasonably safe. A
 9   product may be not reasonably safe because adequate warnings or instructions were not
10   provided with the product. This can be proven either through a balancing test or a
11   consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 110.03
12   (6th ed.).
13          6.15    The balancing test establishes that Monsanto is liable: at the time of
14   manufacture, there was a likelihood that PCBs would cause injury or damage similar to
15   that claimed by the Plaintiffs, and given the seriousness of the injuries or damages, the
16   lack of warnings by Monsanto were inadequate; and Monsanto could have provided
17   adequate warnings or instructions. Monsanto could have provided warnings—but chose
18   not   to     provide   any   warnings—such    as   “CAUTION:        CONTAINS                PCBS
19   (Polychlorinated Biphenyls), A TOXIC ENVIRONMENTAL CONTAMINANT
20   REQUIRING SPECIAL HANDLING AND DISPOSAL.” Monsanto presumably
21   chose not to provide such PCB warnings because the warnings would have reduced PCB
22   sales and profits.
23          6.16    The consumer expectations test also proves that Monsanto is liable: the
24   construction materials and fixtures containing PCBs are not cheap, and their replacement
25   by the School District would likely be a factor considered; the seriousness of potential
26   disorders and diseases (including reproductive toxicity and cancers) caused by PCB
27   exposure is extremely high, especially considering the vulnerability of children; the cost
28   and feasibility of eliminating or minimizing the risk are substantial; and other factors as


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 1   discovery may reveal. Id.
 2          6.17   Monsanto’s PCBs were not reasonably safe because adequate warnings or
 3   instructions were not provided, and this was a proximate cause of Plaintiffs’ injuries. As a
 4   result, Monsanto is liable for Plaintiffs’ damages.
 5          6.18   Liability for failure to provide warnings after manufacture (WPI
 6   110.03.01). A manufacturer has a duty to supply products that are reasonably safe. A
 7   product may be not reasonably safe because adequate warnings or instructions were not
 8   provided after the product was manufactured. 6 Wash. Prac., Wash. Pattern Jury Instr.
 9   Civ. WPI 110.03.01 (6th ed.). PCBs are not reasonably safe because adequate warnings
10   or instructions were not provided after they were manufactured: (1) Monsanto learned, or
11   a reasonably prudent manufacturer should have learned, about the dangers connected
12   with PCBs (while and) after they were manufactured; (2) without adequate warnings or
13   instructions, PCBs are unsafe to an extent beyond that which would be contemplated by
14   an ordinary user such as the School District or the Plaintiffs; and (3) Monsanto failed to
15   provide warnings or instructions concerning the dangers of PCBs in the manner that a
16   reasonably prudent manufacturer would act in the same or similar circumstances.
17   Because Monsanto did not provide adequate warnings or instructions after its PCBs were
18   manufactured and this was a proximate cause of Plaintiffs’ injuries, Monsanto is liable
19   for Plaintiffs’ damages.
20          6.19   No “useful safe life” defense, statute does not apply. A statute of repose
21   enacted in 1981 provides a defense to some product manufacturers. It provides that “a
22   product seller shall not be subject to liability to a claimant for harm under this chapter if
23   the product seller proves by a preponderance of the evidence that the harm was caused
24   after the product’s ‘useful safe life’ had expired.” RCW 7.72.060(1). The statute also
25   provides that “‘Useful safe life’ beings at the time of delivery of the product and extends
26   for the time during which the product would normally be likely to perform or be stored in
27   a safe manner.” RCW 7.72.060(1). The statute creates a presumption: “If the harm was
28   caused more than twelve years after the time of delivery [of the product], a presumption


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 1   arises that the harm was caused after the useful safe life had expired. This presumption
 2   may only be rebutted by a preponderance of the evidence.” RCW 7.72.060(2).
 3          6.20     Monsanto’s PCBs were installed in the school from the 1950s through the
 4   1970s. Although the PCB-caulking and PCB-light ballasts continued to have useful
 5   product lives up to the time of remediation in 2016, the PCBs themselves never had safe
 6   lives due to their extreme toxicity. Monsanto knew that PCBs were toxic, but it provided
 7   no adequate warnings. As a result, the public entity Defendants were left uninformed by
 8   the manufacturer about the extent of the true dangers of PCBs. Up to the present day,
 9   PCBs remained as toxic as they were when Monsanto produced and promoted them. By
10   the 1980s, the EPA termed PCBs “extremely toxic.” The statute of repose requires a
11   product to have had a useful safe life when manufactured; the plain meaning of “safe,”
12   however, does not include “extremely toxic.” Due to their extreme toxicity, Monsanto’s
13   PCBs never had a safe life. PCBs are not and were not reasonably safe products. PCBs
14   were and still are unavoidably unsafe products. A defense that applies to products having
15   a “useful safe life” cannot and does not apply to PCBs.
16          6.21     No “useful safe life” defense, the indefinite persistence of PCBs means
17   an indefinite “useful” life. In the alternative, the chemical stability and persistence of
18   PCBs means they have an indefinitely long “useful” life. In the school, the PCB-light
19   ballasts continued to perform their functions for decades, in fact, until 2016 when they
20   were uninstalled. Likewise, the PCB-containing caulking continued to perform its
21   function of sealing gaps between walls, window frames, and masonry joints, until the
22   caulking was removed in 2016. The utility of the PCBs continued uninterrupted from the
23   time of their installation in the school until 2016, and the PCBs performed their functions
24   throughout that time. RCW 7.72.060(1) (“‘Useful safe life’ begins at the time of delivery
25   of the product and extends for the time during which the product would normally be
26   likely to perform…”). The product seller statute of repose provides Monsanto no defense
27   in this case.
28          6.22     No “useful safe life” defense, statutory exception applies. In the


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 1   alternative, if the Court finds that PCBs had a safe life, then a statutory exception applies
 2   to deprive Monsanto of the defense. “A product seller may be subject to liability for harm
 3   caused by a product beyond its useful safe life if… The product seller intentionally
 4   misrepresents facts about its product, or intentionally conceals information about it, and
 5   that conduct was a proximate cause of the claimant’s harm.” RCW 7.72.060(1)(b).
 6   Monsanto has intentionally misrepresented facts about PCBs, or has intentionally
 7   concealed information about them, and that conduct was a proximate cause of Plaintiffs’
 8   harms. No “useful safe life” defense applies under this statutory exception.
 9          6.23   Statute of limitations. For the Plaintiffs, the product liability claims did
10   not accrue until spring of 2016, when environmental hygienists reported that Monsanto’s
11   PCBs contaminated the school buildings. RCW 7.72.060(3); North Coast Air Services,
12   Ltd. v. Grumman Corp., 111 Wn.2d 315, 759 P.2d 405 (1988); 16 Wash. Prac., Tort Law
13   and Practice § 10:16 (4th ed.) (Oct. 2017 update) (“A three year discovery rule applies,
14   with the provision that the statute begins to run when ‘the claimant discovered or in the
15   exercise of due diligence should have discovered the harm and its cause.’”). “The
16   Washington Supreme Court has held that this statute extends the limitations period
17   beyond the time when the harm occurred in circumstances when the claimant would have
18   no reason to know about the causal connection to a defective product.” Id., citing North
19   Coast Air Services, Ltd., 111 Wn.2d 315. Before spring of 2016, the Plaintiffs had no
20   reason to know that any harm that occurred was caused by PCBs and that they were
21   manufactured by Monsanto.
22          6.24   Foreseeability. For decades, Monsanto produced and promoted PCBs for a
23 wide variety of applications, including building materials and fixtures such as caulking
24 and light ballasts. Monsanto’s PCBs were installed in the school between the 1950s and
25 the 1970s. These building applications—and Monsanto’s PCBs—are stable and durable. It
26 was foreseeable that Monsanto’s PCBs would be installed in schools, would persist up to
27 the present day, and would harm people such as the Plaintiffs. This is due to several
28 factors. The first is the stability and durability of PCBs, known to Monsanto. PCBs do not


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 1 readily breakdown or decompose. This is one of their utilities and a reason that Monsanto
 2 produced and promoted them.
 3          6.25   The second is the known propensity of PCBs to migrate from their sources
 4   and contaminate the surrounding environment. Monsanto has known for several decades
 5   that PCBs migrate from their sources into their surrounding environments and harm the
 6   organisms that live in those environments. Over the years, the PCBs migrated from their
 7   sources in caulking and light ballasts into the surrounding building materials such as
 8   bricks, carpets, and library books, all of which are absorptive and act as a toxic “sink.” As
 9   shown by the EPA, the toxic sink then acts as a secondary source of toxic exposure to
10   occupants of the school, in addition to the ongoing primary sources of PCB exposure. In
11   recent years, spikes in indoor air toxicity occurred due to PCB-light ballast failures in
12   which PCB liquid dripped onto carpets and desks in classrooms, and in which failing
13   PCB-light ballasts vented vapors and pyrolyzed byproducts such as dioxins and furans—
14   which are highly toxic as well as foreseeable byproducts—into classroom air. The overall
15   toxicity of the school gradually increased every year until 2016, when inspectors
16   discovered the PCB contamination and the Health District ordered remediation.
17          6.26   The third factor making the persistence of PCBs foreseeable in the school is
18   that Monsanto provided no warnings regarding their toxicity. Monsanto’s knowing
19   inaction made it more likely that the other Defendants would not act, causing more
20   people, including school children, to become poisoned by Monsanto’s PCBs. In short, it
21   was foreseeable that Monsanto’s PCBs would be left in place for decades in the school
22   while contaminating it and slowly poisoning the people who use it.
23          6.27   It was also foreseeable that other people and entities may be negligent in
24   their provision, maintenance, inspection, or supervision of the school, especially due to
25   Monsanto’s failures to warn. Any allegation by Monsanto of “misuse” of toxic PCB-
26   containing products by other Defendants, third parties, or even the Plaintiffs, was a
27   foreseeable “misuse” in part for this reason. Regardless, a product can be “not reasonably
28   safe” even though the risk that it would cause the plaintiff’s harm or similar harms was


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 1   not foreseeable by the manufacturer at the time the product left the manufacturer’s
 2   control. See WPI 111.02, -.03 (bracketed material). PCBs were not and still are not
 3   reasonably safe. Monsanto is strictly liable for Plaintiffs’ damages.
 4          6.28   Missouri exemplary damages apply. “Washington courts will apply the
 5   punitive damages law of other jurisdictions in product liability cases, if warranted under
 6   choice of law principles. In such a situation, the jury instructions on punitive damages
 7   should conform to the laws of the other state.” 6 Wash. Prac., Wash. Pattern Jury Instr.
 8   Civ. WPI 110.00 (6th ed.), citing Singh v. Edwards Lifesciences Corp., 151 Wn. App.
 9   137, 143-44, 210 P.3d 337 (2009). Under a choice of law analysis, the Missouri law of
10   punitive damages applies because Monsanto’s reckless decisions and reprehensible
11   conduct took place at Monsanto’s headquarters in Missouri. In products liability cases
12   under Missouri law, exemplary or punitive damages are available “if the defendant had
13   actual knowledge of the defect and the danger and showed complete indifference or
14   conscious disregard for the safety of others by selling the product anyway.” 34 Mo.
15   Prac., Personal Injury and Torts Handbook § 5.4 (2017 ed.), ¶ 17(e). Monsanto produced
16   and promoted PCBs, an unreasonably dangerous product, with actual knowledge of their
17   dangers. Id. at ¶ 11. Monsanto knowingly concealed the hazards of its PCBs and
18   marketed them as safe for open and closed applications in order to maximize
19   Monsanto’s profits from PCB sales. See, e.g., City of San Jose v. Monsanto Co., 231 F.
20   Supp. 3d 357, 366 (N.D. Cal. 2017) (denying Monsanto’s motion to dismiss the claim
21   for punitive damages on these facts while holding that the Cities stated a claim for public
22   nuisance based on PCB contamination).
23      F. Public entity negligence.
24          6.29   No Title 51 immunity. Neither public entity Defendant is an employer of
25   the Plaintiff teachers and therefore is not entitled to claim immunity under Title 51. RCW
26   51.08.070; Afoa v. Port of Seattle, 176 Wn.2d 460, 482, 296 P.3d 800 (2013) (Port of
27   Seattle liable in tort to injured worker employed by third-party employer). There are no
28   express contracts or acts that show any of the Plaintiffs or the State recognized one as the


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 1   employee and the other as the employer. Hubbard v. Dept. of Labor and Indus., 198
 2   Wash. 354, 88 P.2d 423 (1939); Fisher v. City of Seattle, 62 Wn.2d 800, 384 P.2d 852
 3   (1963) (relationship of employer and employee cannot exist without consent of employee
 4   for purposes of workers compensation laws).
 5          6.30   Union High as landowner and school district. According to Snohomish
 6   County tax assessor records, Union High School District No. 402 is the owner of the
 7   land occupied by the old Monroe Middle School, currently known as Sky Valley
 8   Education Center, and used by the Monroe School District. Union High is also a school
 9   district and is liable to Plaintiffs, although Union High is not an employer of any
10   Plaintiff and cannot allege Title 51 immunity. Union High violated its statutory and
11   common law duties to the Plaintiffs. The violations were a legal cause of damages to
12   Plaintiffs. Union High failed to maintain safe premises, violated common law and
13   statutory duties to maintain a safe workplace, and is jointly and severally liable with the
14   other Defendants to the Plaintiffs. Afoa v. Port of Seattle, 176 Wn.2d 460, 482, 296 P.3d
15   800 (2013); Afoa v. Port of Seattle, 198 Wn. App. 206, 393 P.3d 802 (2017). Discovery
16   and legal research may reveal more violations.
17          6.31   Standing of the Snohomish Health District. The Health District shall be
18   liable for damages arising out of its tortious conduct. RCW 4.96.010; RCW 4.08.120
19   (“An action may be maintained… for an injury to the rights of the plaintiff arising from
20   some act or omission of such county or other public corporation.”); RCW 39.50.010(c).
21          6.32   Health District’s direct liability for negligence. The Health District shall
22   be liable for its own failures to hire, train, or supervise its employees in the performance
23   of the duties of inspection and enforcement of minimal environmental safety
24   requirements for the school buildings. Id.; Restatement (Second) of Agency, § 213(a).
25          6.33   Health District’s vicarious liability for negligence. Any negligence of a
26   Health District board member, administrator, or employee within the scope of his or her
27   authority is the negligence of the Health District. 6 Wash. Prac., Wash. Pattern Jury Instr.
28   Civ. WPI 50.03 (6th ed.) (modified).


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 1          6.34   Health District’s obligation to enforce safety requirements in the
 2   school. The Defendant Snohomish Health District has an obligation to protect public
 3   health in school buildings in Snohomish County. To protect public health, the State
 4   Board of Health shall establish safety requirements for water quality, air quality, and
 5   environmental conditions in school buildings, “including but not limited to heating,
 6   lighting, ventilation, sanitary facilities, and cleanliness.” RCW 43.20.050(2)(d). The
 7   Snohomish Health District shall enforce these requirements. RCW 43.20.050(5). The
 8   requirements are designed for the benefit and protection of the children and adults who
 9   use public school buildings. Bailey v. Town of Forks, 108 Wn.2d 262, 268, 737 P.2d 1257
10   (1987) (noting one exception to the public duty doctrine is “when the terms of a
11   legislative enactment evidence an intent to identify and protect a particular and
12   circumscribed class of persons (legislative intent)”).
13          6.35   Health District’s duty to inspect school buildings. The Health District
14   must inspect schools and enforce safety requirements to prevent injury and to protect the
15   children and adults, including the Plaintiff teachers, who use the school buildings.
16          6.36   Health District’s duty to take corrective action and enforce safety
17   requirements. The Health District must take corrective action and enforce safety
18   requirements in school buildings to prevent injury and to protect the children and adults
19   who use the school buildings.
20          6.37   Health District breached its duties to the Plaintiffs, causing them harm.
21   For years, the Health District knew that the school violated environmental safety
22   requirements. For those same years, the Health District had a duty to inspect, verify
23   compliance, and order compliance with environmental safety requirements at the school.
24   But the Health District failed to enforce compliance until the spring of 2016, by which
25   time many people, including the Plaintiffs, had suffered toxic poisoning. In addition, the
26   Health District knowingly and negligently delayed enforcement and waited while dozens
27   of people reported illnesses and diseases attributed to the toxic school. The Health
28   District chose not to act until 2016, when it finally ordered environmental testing and


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 1   remediation of the hazardous substances in the school. The Health District’s violations of
 2   its duties were legal causes of harm to the Plaintiffs.
 3           6.38   The Health District is liable to the Plaintiffs and other reasonably
 4   foreseeable occupants of the school buildings for the toxic exposures that caused them
 5   harm. Campbell v. City of Bellevue, 85 Wn.2d 1, 530 P.2d 234 (1975) (duty imposed on
 6   electrical inspector who knew of nonconforming electrical system but failed to enforce
 7   electrical code compliance, causing injury and death); Halvorson v. Dahl, 89 Wn.2d 673,
 8   574 P.2d 1190 (1978) (claim may be made against city for its long-term knowledge of,
 9   and inadequate response to, hotel’s noncompliance with safety codes); Bailey v. Town of
10   Forks, 108 Wn.2d 262, 737 P.2d 1257 (1987) (liability against police officer who
11   allowed drunk driver to drive his truck, hitting motorcyclist). When the Health District
12   finally acted in 2016 on the school buildings, it found “[t]he existence of unsafe
13   conditions which present a potential hazard to occupants of the school [which] are in
14   violation of these regulations.” WAC 246-366-140(1); RCW 43.20.050 (health district
15   shall enforce minimum safety requirements in school buildings); Swank v. Valley
16   Christian School, 188 Wn.2d 663, 398 P.3d 1108 (2017) (holding that a statute enacted to
17   protect student safety created an implied remedy for violations of the statute). The same
18   “unsafe conditions” had been present for months, years, and decades beforehand, had
19   harmed the children and adults in the school, and had been known to the Health District.
20   The Health District’s failure to enforce the safety requirements at the school buildings
21   was a proximate cause of Plaintiffs’ damages.
22      G.     Roes.
23           6.39   Roes 1 through 10 are public entities or public or private corporations who
24   may be liable for causing injuries to the Plaintiffs. Currently, it is not known if named
25   Defendants will allege fault against these entities or corporations. Plaintiffs request leave to
26   amend this Complaint if Defendants allege fault against third parties, or if facts become
27   known showing liability against third parties. Third parties Snohomish County, Northwest
28   Education Service District #189, City of Monroe, EHS-International, and McKinstry Corp.


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 1   are being given notice of this lawsuit. If they or another third party are added as Defendants,
 2   the new claims in the amended pleadings relate back to the original complaint. CR 15(c).
 3      H.     Admonition of the Environmental Defense Fund decision.
 4           6.40   The federal district court for the District of Columbia advised that action must
 5   be taken to prevent toxic environmental poisoning and to protect future generations:
 6           We feel constrained to add one final note to emphasize our concern in this
             case. Human beings have finally come to recognize that they must eliminate
 7
             or control life threatening chemicals, such as PCBs, if the miracle of life is to
 8           continue and if earth is to remain a living planet. This is precisely what
             Congress sought to do when it enacted section 6(e) of the Toxic Substances
 9           Control Act. Yet, we find that forty-six months *1287 after the effective date
10           of an act designed to either totally ban or closely control the use of PCBs,
             99% of the PCBs that were in use when the Act was passed are still in use in
11           the United States. With information such as this in hand, timid souls have
12           good reason to question the prospects for our continued survival, and cynics
             have just cause to sneer at the effectiveness of governmental regulation.
13
14   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1286-
15   87 (D.C. Cir. 1980) (internal citation omitted).
16      I. Accountability.
17           6.41   Plaintiffs request that each of the Defendants be held accountable for causing
18   the toxic poisonings in this case.
19   VII.    PRAYERS FOR RELIEF
20      A. Request for preservation of evidence.
21           7.1    Plaintiffs request that all Defendants and third parties given notice of this
22   lawsuit preserve all evidence that may potentially be relevant.
23      B. Ex parte contact is prohibited.
24           7.2    Plaintiffs request that defense attorneys instruct their agents, employees,
25   defendant employees, and defendants’ agents to please refrain from any ex parte contact
26   with Plaintiffs regarding the subject matter of this lawsuit, whether in school buildings,
27   hospitals, or other locations. This request includes the non-physician State or University
28   of Washington Medical Center employee(s) who have observed or attempted to observe


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 1   clinical evaluations of injured Sky Valley teachers.
 2      C. Limited waiver of physician-patient privilege.
 3           7.3   Under RCW 5.60.060(4)(b), Plaintiffs hereby waive the physician-patient
 4   privilege only insofar as necessary to place damages at issue at the time of trial.
 5   Plaintiffs’ actions do not constitute a waiver of any of their constitutional or statutory
 6   rights. Defendants, defense attorneys, and their agents are not to contact any treating
 7   physicians without first notifying plaintiff counsel, so the matter may be negotiated or
 8   brought to the attention of the Court. Loudon v. Mhyre, 110 Wn.2d 675 (1988); Smith v.
 9   Orthopedics International, Ltd., P.S., 170 Wn.2d 659 (2010).
10      D.     Motion practice.
11           7.4   Plaintiffs will request relief during litigation through stipulation or motion
12   practice for a limited protective order to provide appropriate psychological, privacy, and
13   personal identification information protections for Plaintiffs.
14           7.5   Plaintiffs may request leave to amend the complaint, as discovery or
15   Defendants’ answers may require.
16           7.6   Plaintiffs may request leave to reform the caption to reflect the addition or
17   deletion of parties.
18           7.7   Plaintiffs may request other relief as may be appropriate during litigation.
19      E.     Judgment for damages.
20           7.8   Plaintiffs demand judgment against Defendants, and each of them,
21   individually, jointly, and severally, for monetary damages to make Plaintiffs whole,
22   together with interest, expenses, costs of suit, attorney fees, as appropriate, and all such
23   other relief as the Court deems just and proper, including:
24                 a.       Full compensatory damages to the Plaintiffs for past, present, and
25                          future general damages as allowed by law;
26                 b.       Full compensatory damages to the Plaintiffs for past, present, and
27                          future special damages as allowed by law;
28                 c.       Exemplary or punitive damages against Monsanto, Solutia, and/or


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 1                    Pharmacia, under the applicable law of foreign jurisdiction(s); and
 2               d.   All other damages allowed by law, rule, or equity.
 3
 4         DATED this 28th day of November, 2018.
 5                                              FRIEDMAN│RUBIN PLLP
 6                                          By:
 7                                                Sean J. Gamble, WSBA No. 41733
                                                  James A. Hertz, WSBA No. 35222
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